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                                  #:58045




                                EXHrBIT 19
  Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 2 of 120 Page ID
                                    #:58046




              r(^y 2E7                  2Ops i2 : 36PIi          FEP I_ flSER3ET 32p0                                                         to . 2

       .. _                      lI




                            z         r^ionorable Alan B.Iiabex
                                      ADrL S8RVICES QQC
                        z             1900 Avwus oft{ie Stars, Saute 250
                                      Los Aes, California 9006711303
                        3               I O ^ I-0010 PH
                                        10 241-0{?16 PAX                                                                                               i



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                        6                              1N^ MATTER [7F TH8 AIflilTi7A'1TON BL°TWls1^!'
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                    D
                                  FARHAD LARIAN                                        }
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                   u                                      Claimanl                             ADat Carve No . 8S 2096-ABH
                   iz            vs.           '                                               I,ASC Caso No.13C 301371
                   x3
                                 ISAAC I,AR^N                                         }
                                                                                      }        1^'INAr.A)2IiTiT2ATTONAWARI]
                   ^^                                    Itespoadent                  a}   • nrsmussAL oFAx.L crar^rs ^nvrr^l
                   ^s                                                                      •          I'1^ICIDICE                •
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          '   xs                ^^ot^raLOC;!^' oar ^vaarrls:
              ze                 .       This Banding AririiraliaA bciween the above -named claiipant and respoadcnt comnunced
              x7                ' iu November 16, 2005, at tha A131L ot$cea, Suite 250, 1900 Avenue of the Stars , Los Angeles„

              sa                 0067. Thin Arbitration was scheduled for haaringa ou Aiovomber i 6, 17, 18.2 x;22, 23 and

              z5                ^ kcersYber S, 2005. Claimant Farb was represontcd by Mr. Robert O. Wilson of the law fum




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                            Racelvecl      Nov-PA-POd5 1P:3Bva       Frog-                         7a-COTHiII COItlNS AI3D G   Pace D02

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  Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 3 of 120 Page ID
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                                   f^


                              ^         of Corkin, Collins and t3ipshnrg and Mr. Ris3^d IGxllua uftisc law firttt of Kabatecls, $rnvva
                              x         and Kellner.   ILaapondmt Isaac Lasiaa was r+aptesentod lay Mr. F,arry Feldman•aad Ivlr_ Rnbalt
                              s         'I7uner, both of the ICayc Saholcr I.I.P law firm. Also in attendance was Ms. l7aphne CitvniGh.
                             a      counsel Barthird-party inxrvenpr, MCrA L'ntrrtainmrnt, Inc.
                          s                  tJn November I7, 2445, the sccvted day of the Arbittadatt pzs7ceediggs, towar[ is the end
                          s         of the foil-day session, following the testimony of a witness called Isy elaimant< claimant's
                         ^          counsel called claimrsat Farhad I.arim to testily, as a wlmess. Upon taking his place at the
                          a         witness chair, aiaiataut Farhad I.ariAn rtquosted tI>a# he ba perraiited to addrGSa lno, and tho
                         s          assomblago of counsel, and announced that he wishes to "go off the racorri". I then requested that
                        >,o        G1Aimnnt T,arian cos^xtelt privately with both afhis counsel. Claimant Fathad I_arian daaIiacd my
                        sx         r'erluest that he causcrlt with his staoraeys.        Both of his attorneys eFpeared 'Heady to IGaves the
                        !z         ]rearing roam and consult with claimant I;azhad I.arian.              T-Iawwer, clainsarit Fatitad Lariatr
                    ra             cantintred to insist that he be ptrmittcd to address ma end tire•e9senpbla$o of attomeys. I again
                    sa             sttgges#ad that clarmarrt Fnrlrsd L,arien meet wid! his attorneys For a second tame he insisted
                    xs             that be be allowed to address me and the assernbiage , and refused u!y second snggestian that it
                    !s             would be advisable fo'1• birlt^w 'speak to Ills attorneys.         I infornied Isirit'ihret amy Datneori:s iir
                    iT             statements that Ise made would Nava W be "on the tecgted"(at all times drrxing the Arbifmtion
                    !a             proceding, a CertiSed Court TZegorber was recording rho praceedingsj . Ciainratrt Fathad latian
                    r9            then addressed the asstmb[age and axp]ained that certain evidence ptesented.7hus far m the
                   za             prs7ceaiings ceased him to conclude tbni his claims agair>,st tespondaat Isaac T.aris^ were
                   z1             unfocmcicd and that it Ras his rccittcst that the procecdiaga bG br+ought to a concltuion.

                   xz             Theresipoc, one of claimant's attorneys, Ivlr. ^Rabett Cr. Wilson arwosrncrd the! he was resigning

                   za             as claimarrt'a counsel             7n esaenG^ and nnyrresdar>a61y, claimant Farhad I.ruian conceded chat

                   za             ^ slsitns ^ Isaac Larian for breach of fiduciary duty, fraud. sad uuilslsrsl xurstakc aid

                   xs             reynasts fur' monetary datrrages and scission should bo "dsuppsd^, emd fire srbitisfian should Ira
                  sc              trmninarri I suggested t6a# a recess wanId be apprapriaba . CLriur^t and I>is counsel, ]Ufr:
                  xt              Richard ICrllner then, retired to a di@•erent rvonr: [ then IeRths heating xuow and brlc$y spoke
                 • ze             with l^fr. ICrlltter and clasus,nt Parbad I.ariedn sad whit Mr. leliuar's porsttisAion explained that if
                  z5              his trot intentions were to terminato the pmceedinss , flvri ho and Mr. ICeilner would have to


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 Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 4 of 120 Page ID
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                   x        return to ti3o hearing rooal a^+d agree "oa tl^ trcoxd" to disaxlss all of the Arbitration deims.
                  s         sad ac7awwlcdgc tf3at s dismissal with pre^ttdi,ce-would mesa that he u+o33ld 3xot be alila to renew
                  3     Ai' re9le his c3slms 4n tl3a 1liFS^G . Q93mAllt 18Iilad t^e33 BF^CROSVI@d^C LfII ttl0 r^P.COrd $]at h@
                  a     3mde3stood the COI15Cg33931CGS of8 dismiavnl of his Arbitrtlon cl2dzn4, 831(1 t'^let he vrf shed Sor a

                  s     dismissal with p3tjudice ofthe claatts.

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               7        'i'EiE: ARBITRATIDN AWARD:                                                             ...           _         1
               e                Based on my tsati8fzufi0n triat ctai3rysat Parl3ad I.alian lwawiltgly sad valu3sta33ly wished
               s       for nil of his Arbitration claims i:1 this psnooeding agaicxst xespondeut Isaac imian be dismiascd
             lu        With I^J^^ and his ecknawdeti $meat that ttwrc was 370 rAerit t6 say of lkl.4 Clexlms in thin
             lz        procooding, l am ordaiug that • all of the claims p18de by olaimalst Periled i:.atian iA this';
             xz        proceeding be forthwitG. dismissed with prejudice, sad issue as award in favor of rospoodes3t
          x3           7gar lerlAn.

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          3s           DATED: Aioveraber^,2005
          is                    _^ _.. ^ - .......            ••     ..         .fion. Alan B. Haber(r>rL},Arbitrator

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    Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 5 of 120 Page ID
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           !`IQV    26 2005 12:36PM H? f_ASSR3^7 32QR                                                                               p.5




                                                             rROOR QF^I^riN'^
                                            STATE pF CALIFpRNIA, COC3N7'Y t?F Lt35 ANCrA^l:$

                        I am employed in the Cotaz(y of.Las Angeiav, State o#'Cali£oQnla. I am over the ago of 18 sad not                              ^_   i
                        a party to the within action ; my buaiaosa address is AI?R Services , Ioc., 1900 A.vraue of the
                        5tais, Suite 250 Las Angeles, California 90067;

                           On November 28, 2045, I served the foregoing document descrs'hed ae the l^INAL
                    AI^SITRATION AWARA an^the inirsrstcd puiics in this ectian b}' placing a tnlo copy thereof                       ..   ..            .
                    eaalascd in a sealed eaveiope addressed ea folIowa:
                                                                                                                                                            i
                    R1t:iaald Kellner, Esq.        ^                                                                                                        a
                    ld[ichaet ii. ertlwrt, t4sq.                                                                                               ^            i
                    iWt3ATEGK 81^OVIAV & lCF1LNER l,t.P                                                                                                     s
                    350 South Grand Avenue, 39th Flow                                                                                                       ^
                    Los P,ngeies, Califgntfa 80071

                   Robert t3, Wllsan , Esq.                                Larry R. Feldman, Esq.
                   C4'[]UN t;.tJU-l1^3 g ^1tJSQE]RG                        KA`(E 3CI-ipLER
                   900 tiouth Grand Rvenue, 24th Floor                     9999 Avenue at the Stars, Srrtte 16Q0
                   Los Angeles, Cai'damia Btlo71                           t.asAnBeles, Ga{ifomla 8t>d87



                   ..              BY X7.5 . MAIL, X caused such enwe{ape with postage thereon id be Plecerl in the
                        7L         United Staies mail at I,os Angelev, Califomis.



                        X          BY RACSIIKII.E, i seared such to be faxed to the attorneys on Navernber 2$, 2005.


                                  BY PERSONAL SERVICE 1 seared such envelope to be delivcnod by hand to:

                                  STATE I declare under pen $Ity of perjury under the laws oX#ht State of Ca]ifamia that
                    X             the above iy true and cornck

                                  YrEDEIZAIr I declare that X am eurployed is the o^cc of a rncmbcr of the bar of this
                                  court at wltase dlredfast the service was shade.

                                         Exectrted an N                D5 ai     Angcles,l.,alifornis.



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                               EXHIBIT 20
       Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 7 of 120 Page ID
                                         #:58051




                                                                                                                                         1.•ZP•


                                    1        KABATI;CK 13ILOWN ICEI,LNER LLF
                                             Richazd L. Kellner, SBN 171415
                                   2         Al^edo Torrijas, S13N 22245$
                                             350 Souih Grand Avenue, 39th Floor
                                   3         Los Angeles, California 90071
                                             Tele^houe: (213) 217-5000
                                   k         Fade: (213) 217-5010

                                   5         COTKIN, CDLLINS 8c frINSBURb
                                             A PROFFSSIONAL CORPORATION
                                   6         Robert (^. Wilson, SBN 58653
                                             300 Soutb^'Grand Avenuc,24t1 ^ Flooz
                                   7 Los Angeles, Califonva 90071
                                             Telephone : (2I3) 688-9350
                                   $         Facsimile: (213} 688-935I

                                   9         Attorneys for. Claimant
                                             Farhmd Larien
                               ]0                                -

                               11
                                                                 ARBITRATION k3EF ORE ADR SERVICES, INC.
                               I2

                               I3        FARHAI^ LARIAN,                                   AUKS CA 5E. NO_ DS-2096 ABH
                               14                   Ciai^naut,                             THE HONORABLE ALAN HALER

                              15                   v.
                                                                                           DECX,A1tATION OP' CLttIMAIVT
                              16         ISAAC LARIAN, .                                   FARHAD LARIAN 7N SUPPORT OR HIS
                                                                                           OPPOSITION TO I2ESPONAENT ISAAC
                              17                   Respondent.                             I.ARIAN`S MOTION F'OR AT'T'ORNE'YS'
                                                                                           ICES
                              18

                              19                                                           (Filed concurrently with Claimant Farhad
                                                                                           Lcaian s Opposition to Respondent Isaac            '_
                              20                                                           Larian 's 14^otianfor IlYtorneys' Fees; and
                                                                                           Declaration afRtchm'd L. xellner kr Support
                              21                                                           ofClaimant Farhad Irsricur 's Opposition to
                                                                                           Respondent Lsaac Lartan's Motion for
                              22                                                           Attorneys' Fees]                    ,

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                             2g 111

                                                DI+CLAI2AT^ON OB CLA7l13ANT I+di2^AD. Le4ItTAN ^I SQ.^POTiT OR ffiS OFYOS^TON TO
                                         .               ^tES`£ONDI;NT7iSAAC Y.ALiXeS.I^'S14YR7'[ON irOIt^iTIY]RNEYS' P&ES

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                                       #:58052




                                                   D$CLARA'ITON OF p'a>r^ran LAItL4N

                                 I, I^AIOiAD 1~A1tI,AN, do hereby declare as follows:

                                        I am the Claimant in this action . X have personal knowledge of tlae facts contained
                      herein and if called to Testify to the matters sot forth herein, I could competently testify thereto.

                                 2.     This case lass not b eera easy for me. I am am extremely emotional person and I

                      have struggled greatly with the impact that this case has had an my family . Despite our

                      differences, Isaac and I axe still brothers . Vie spent many years worldng hard trying to make

                      MGA Entertainment, Inc, what it is #oday. Same of those years were good, some were bad, but

                      we were working together and we were family.

                             3.         I do not (and never have) begrudge the fact Wet my brother has become very

                      wealthy by viatue ofhis feakl ownership of MGA Entertaiozne,at, Inc. Ire deserves it. My brother

                     is an extremely takented business peason; I have never doubted or denied that.

                             4.        i bmugkat this acdon because I had real and genuine doubts as to whether I         '

                     i received a fair price for the 1Jecember 200D safe of my stock in ABC International Traders, Inc.

                     and MQA Entertainment Fong Kong limifed (later collectively known as, "MGA

                     Entertainment, iuc.'^. I genuinely believed that my brother Isaac had a responsibility for making

                     up the difference th price behveeaz what my stock was actually worth (based on a valuation of

                     Ilecember 2DDD) and what I was paid for that stock This differential would only represent a

                     fraction of the gains that Isaac has subsequeratiy earned due to his purchase ofmy stock.

                            5.        A few weeks before the arbitration, T was at Santa Monica beach with my family.

                     (]n that day, my wife Lisa and I lost our four year aid daughter . portunately, after one teaibie

                     bout, we found out daughter at thepolice station . 'late whole ordeal was agonizing, lint it

                     reminded me that there are more important things in life than dais case -- that there are things that

                     I would rather do than spend my tame trying to prove iha # any brother had engaged in wrongfiil

                     waduct against nae.

                            6.        Iharing the arbitration, sitting in the same room as rqy brother and his wife was

                     li$^cult, much more difficult tli^an I coaaTd have ever imagiaied. As each hour of the arbitration

                     rrogressed, I wuld not help but feel -- pl^ysically feel -- the hatred that Isaac had forme. Right
                                                          •          2
                         DECX.ARATTDIQ DF t^.AI^ANI' ii'A1<tH.PaD IAN ^ S fJPPDRT OI> HIS pX'POS1TIOl+i '1'D
                                 X2ESPOI^tDEt+tT ISAAC x.AI2INt't'S ivID1'IOPf F4RA7'i•OIiN1;XS' FEES

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               then, I made a decision to abandon my claims am the arbitration aAd issue a public apology,

               hoping (perhaps in Train) that one day my brother and I could recameile.

                        7.         My brother was so waved by my public recant that he subsequently offered to pay

               me the difference between the appraised value of ^y stock in 2440 and the amount tliaat I was

               paid for the stock. Attached hereto as Racfu`bit "A" is ^ true and correct copy of sprint-aut of the

               email that I received finm mybrother on Navesnber 29, 2445 end^my responding ertsail of

               1]eccmber I, 2005.

                       8.          I am not a wealthy man. ^ T simply could not have made the generous gesture of

               publicly abandoning my cleans, if had known that Isaac's lawye,^s would wme niter me for their

               attorneys ' fees.

                       I declare under penalty of perj^sy that the foregoing is tree and wrrect.



                      Executed this               day of January 2406 at Los Angeles, California.



                                                                       FARHAD




                                      •           -^ 3 -
                     ^LA12A.TION OF CLAMANT FARSAD LARyr1N iN SUPPORT OF H^.S OPPOSF^ON ^'O
                            R^SPOND^ XSAAC LARIAN'S NIQrTfOh' FOR ATTO^YS' 77RYtS


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   Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 10 of 120 Page ID
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                                     EXIDB^T A    ,




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                                       #:58055




                   !"mm: Fred E.arian [rnaltbo :fredlarfan @stra,}iobal.net]
                   Sent: Thursday, Reaemlwr ❑1, 2005 4:11 PM
                   To:'Isaac tartan (President/CEO}'                                                                   ^=
                   Suhjact: Rl=: I am traveling                                                                        r.

                     did not cars Shamsl. She called rira and said shs had suggested tha naw apAraisal to you (and ,
                   later to me} . I told her Isaac and i are supposed to talk dlrectty , When are you back In townZ


                   Fmrn: Isaac Larlan (President / CEO) (mallto: larlanIl@mgae,oarrt]
                   Sent: Tuesday, November 29, 2005 6:37 PM
                   To; fredlarlanCg^shcgiohal,net
                   Subject: X am traveling

                   Fred,

                   I arxt traveling.

                   I got a call from Shamsi saying that you want a new appraisal,
                   as of year end 2000?

                  I thought we decided to talk dixsctly?

                  I don't mind doing this if you want this and indeed have been
                  asking for it. But , on one condition: A written contract that i^
                  the appraisal was less than what you got paid, you will pay the
                  difference.

                  I am not going thra^xgh this again.

                  I want me anal zny family to go an witfz our lives.

                  Let me know.


                  Isaac Larian
                  CEO

                   MGA Entertainment, Inc,
                  4838D Roscoe Blvd . Suite 200
                  Van Nuys, California 9'14()6
                  Tel: 848-894345D




                                                                                                            CC 00698




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      Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 12 of 120 Page ID
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                   fax: 84 &&94-4267

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 Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 13 of 120 Page ID
                                   #:58057




                                                                                  I'ROOR OIa` SERVICE
                                       I
                                            STATE OF CALII^'ORNIA, COILTNTX OP LOS ANGELES
                                   2
                                                   I am cmploycd in the County of Los Angeies, State of California. 1 am over the a^c of 18
                                   3        and not a party to the within action; my business address is 354 South, Grand Avenue, 39 Floor,
                                   .^       Los Ange]es, CA 90071.

                          '        S        On January 20, 2006, I caused the foregoing documeat described as CY^ATMANT FARgA.D
                                            I.ARIAN'S OPPOSITION 'I'O ItESPONQENT ISAAC I,ARIAN'S MOTION I:OR
                                   5        ATTORNETCS' FEES on the interested parties in this action as follows:

                                   7        Larry Ft. Feldman, Esq.
                                            Kaye Scholar {rLA
                                   g        1999 Avenue of the Stars, Suite 470t7
                                            Lvs Angeles, CA 90067
                                   g        FAX N0: 340-788-12x4

                                   ]0                                                                      ••_ .
                                            Robert Wilson, Esq.
                                   !l       Cotkin Collins & Ginsburg
                                            300 South Grand Avenue, 24t^' Floor                       .
                 ^0                12
                                            Los Angeles, CA 90077
                 ^^ o l3                                 '
                 Y^e^$ 14                  ^ VIA OVERNIGHT EXPRESS - I am readily familiar with the firm's practice of
                 c^^^n                          collection and processing for overnigltt delivery. Under that practice it would be
                 og"^'"^ 15                     deposited in a box or othez facility regularly maintained by Overnight Express, or
                 m^^W^                          delivered to an au#horized courier or driver authorized by Overnight Express to receive.
                 ^; °^^ l6                      docnments, in au envelope or paclcagc designated by Ovemigbt Facpzess with delivery
                                                fees paid or provided far, addressed to the person on whom it is to be served, at the office
                 .tip g           17            address as last ^i.ven by that person on any document filed in the cause and served on the
                 ^"                             party nialcing service; othervnse at that party's piece of zesidence,
                                  l8
                                           []     VIA U.S. MAIL - I deposited such ereveiope(s) with the United States 1?osta! Service,
                                  1g              enclosed in a sealed envelope, fox collection and mailing with the United States Postal
                                                  Service where it would be deposited for first class delivery, gastage fully prepared, in the
                                  2p              United States Postal Service that same day in the ordinary course of business. I am
                                                  readily familiar with my employer's business practice for collcctian and processing of
                      •           21              correspondence for mailing with the United States Posts!^.•...Service.
                  .               22       Executed on January 20, 2006, at Las Angeles, California.

                                  23                I declare under penalty of perjury under the laws of the       to of C;al' o 'a that the above
                                           is true and correct.
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                                EXHIBIT 21
     Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 15 of 120 Page ID
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                       IF




                      I^loaernhIs Alas B. Fiaber(Ret.)
                      AI?R S1^t.'V1CES INC.
                   s' 1904 Avenue of tfte Stars, Sane 250
                      l:,os A^eles, California 90067-4303
                   s     Io z I -oola^-r
                       3103 20I-0016 FA7C
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                  s                            I.N T!-IE MATf'F,R OF TI3E ARBITSt.4T70N ]3z3TWE>^T
                  9
                        FARHAI7 LARIAN,                                         )        ^ASC CA$E Na. BC34137]
             xo

             u                                  Claimant,                       )        A£}RCASSNo. 05-2096 A$H
                                                                                )
             iz                   .'Vs-                                         )
                                                                                    F1NAL AItB)"FRATI4N AM>1NDMI^IT
             i^
                        ISAAC LARTAN,                                        )      FdR RFSPdNi)ET11"S MOTItJN FQR
             ie                                I28apondent,            ^     )      PREVAIC.INCr PARTY AT'1^DRNE'IC'S
                                                                                    FEB3
             as

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             17 J
                            Oa Tlovecuber 28, 2005, my Arbitration Award was filed and served on eounsci for tlu
             ke
                       claimant and trsponderlt . The Award errter+cd a dismissal with prtjudice of all claims in tbia
            Y9
                       arbitration pa+ocecdirzg.        This dismlgsa! was requested by claimant op ifto second day oP the
            29
                       ^4rhitratian proceedings.         iLrspondent tiled a Motion far Attorneys Fees , requesting fees end
            xr
                       costs incurred by respoad ®t daring the coarse of this Iltigation.                 I .have considered the
            zz
                       responclcnR' s uwvIng papers, sari. declaration, and have considered the respantlent 's Opposition
            za
                       papers and the two declauatiuns attached to the opposition papers.               The parties agreed to a
            zi
                       :eIcphvnic evnfcrence pall far oral ar^nacssf in colrnccfiou with this atatiaar . drl I'ebruary 1. thl,
            25
                       natter was argued b3' the parties hJ' Way of a iY:le}rlrnnic con£a^nne call.. Present dramg the cell
            zs
                       idr CIeimant was Mr. I2ieIrer+d Kellner of tlzc Iavs• i!iun of 7Gabatecdc Brown Kellner LLI', aad
            z^
                       uesent d"^^ tfuo canfcrence call far Reapandeut was Mr. Lamy Feldman of fire law' iirrne of
            ze
                       Caye 3cholerLlP.
            2D


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I'^1^4i ^             ^5
  Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 16 of 120 Page ID
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                ti I^




                          rnrmn^ras ^: T^ riJl^ISnrcrivN rssr^
                z               Claimant's counsel aIlegod {i) that av the Arbitrator I had nq ,^raisdi^ora to lases an
                ^         Arbitraiaoa Awtud and therefore there was na prtvailirrg party; {2 ) that I should use my
                a         discretion and not award attorney's fees to the respondent Isaac I ,trriEtrt, trod (3) at#vn^cys fees
                s         trod costs should not ba awarded because the respondent' s application for fees and easts is not
                s         adequsta. I find that the claimant's claim of lack of jurisdiction is rant well'taken. ]edge Nclsan

                z        appointed me as the arbitrator in trots matter on May 4, 21 ) 05, following his having made a

                s        fending that the parses were arable to agroc an as arbitrator . Judge NeIsvn's tvlWg followed a
                y        rxmlttatur from the 3ocotrd District Court of Appcasl, ordering that a prior tullirg denying the

           Io            respondent ' s request to arbitrate ' this metier ba vacated, errd that an arbitration gv fvr^vard

           it            pmauartt to 3ectivn ] 2$1.t5 of the taliforaia Coda of GY^vil Pivicedraa The chronology of events

           Iz            leading up to ray appointment as arbitrator establishes the hypocrisy ofthc claimant 's claim that

           7a            that my aelGCtioa as arbitrator was inrprnpcr.
           is                 Oa March 2, ?AOS(fnQowiag the Corot of Appeal ' s mandates to grant as order eompelling

           xs            arbitration) 3udga NtsIson orcternd each party to submit n list of at ] cast iive(5) noarincea to salve

           xe            ^ the ttrbitxatar. Judge Alclson inforrued ccuasrl that he would then select five(5} xraines fur the

           i7           two snbmittcd lists, indicating that in tix event the parties could not agree &s5m his list, that he

           za           would select dra arbitrator is accardanoa with Section 1261 .4 of the Cads of Cavil 1'racedara.

           iy           Keapondent provided fve(S}names; my name was ao# on the list . Claimant provided eve names
          ztr           and my name was an the $st.(Interestingly, claimant in their submission of farts names, objected
          zi            to Judge Nelson's procedure, and asserted that a principal term of the arbi[Gration agreement
          zz            provided that the tiibiLlartnT stave willrant charging a fce )_ Fixbding a rcdl^ ed judge tCa serve as a
          za            neutral arbitrator -without tnvattary wmpensation in a case vvhcre $ clailuant (aS is this Cago) iS
          za            arcking six million dolltus in monetary dtuAagcei{"SGOU,40Q,t]Q(l.} is probalaiy morr; difficult than
          zs            trying to IoeataJudga Crater.
          za                On Marsh 24, 2005, lodge Nelson . selected rrstirad ludga lZobart Altman to sore ^ ns the
          a7            m^titrator irr Shia matter.    Oa April ^, 20015 , ludgo I3elson, having lcarwcd that J'udgt A7tmaA
          ze            withdrew ax xrbotratvr, i:ttformod counsel tiaat be would be sanding s Raw List ofivc{S} tubitra4or
          zs            nominees. My aama was on that list of iYVa (S^.        On April i5, claitrraat'e counsel wrote to Judge


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 Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 17 of 120 Page ID
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       . , FEB' •03 2006 Ss 12P7•f                         FfP LFISEft .7^'r   32pp                                                      p.4
       .'             it




                  x        Nelson listing. claimarlt's nomipecs; once again my^ name wag nn claimapt'a list, trod mad
                  z        reference to the names of frnlr of sespamdeat'e nominees. My Demo was not on the respgpdcnt'
                  3        list. Once agalu, the parties cquld pot agree an Judge Nelson s list of five. Dn May 4, 2t?115,
                  a        Iudge Nelson appointed the as the arbitrator pursuan# to Section 128!.6 of the Code ofCEvi1
                  s        Procedure. .
                  a             The Iegsl prlnclples of estoppel and waiver'Lave aytplirstion to the e[aima>s's clalial of my

                           tacking jurisdicclon to serve as the arbitrator.       At no time from the receipt of ]edge 1Helsou

                  a        lA1ItlIte order trapslttltted to ute qn May 4, 2p05 end 1hrOUgl1 and including my involveutant i!                   <(
                  9    pro-Arbitratiaa Irroccediags, sad the Arbitration , had clnlmant ,cvcr assorted to ma t7aet I lardm^                    }

                 1v    jurisdlctlon to serve as the ^bitrator in this matter,         Tha first. time $>nt I leased of the leek o,

             u         jnrisdictivn claim was upon roceiving chtiraan#'s w^msvl's gpposi#ion hricf to the reapondcat',

             lz        NFotion fvr attorneys fees and cosEs. I end that JudgoNclson's appgitltmept afmv a5 arbitrator is

             13        the law ofthe case.

             la

             is        I?TNl7INGS RL: ATTORNEYS FEES AND CASTS Rl3QU]3STS
             16                As pr^vinitafy discussed, i 5nd that tlra respondett is the yrcvailiag party lJa this ]itigatia ^a.
             x^        The Stock P,xrcEln_ve Agrcelmeat providdi that the prevailing party can rccavcr attorneys fees and
             In        costa.    1 have considered and read respmldent ' s movitlg papaws and have reviewed al! 97 exhii^ita

             19        attached to lzspovdcnt's dcclarsii❑a. 'T'his cane invoIv^ed a claim for $6RI1,0^0,0 (J0. fn aranvtary

            zp        damages and was intensely litigated over ap approximately two-year period , The nature of this
            xa        case demanded sldlIvd and experienced atrom^eys. CIaiwaut rvtxiavd serially, three differrat law
            ^s        Sans to represent him aver the period of this case, as did respondent in hiring two ttitozxteys vrho
            73        Dave more then. 6(l eomilined years of heavy lfdgatioir ex;xtlence and ale highly &id! !cd in their

            29        professiau, Cozzsidcring the naYura 4P t13^5 ^, I emu. S                 that ll^e records of fours kspt b3' ;
            xs        claimm^t's counsel, and their howly taros fnr counsel and paralegals was justi &cd; that the haws

            26        for which the c]simsat was billed wcde spent A review ofthe 97 exlu'hita prgvided by
            x^        respondent demvnshates the astute of the Iimg^trtioapm -Arbltlativn ; ^a v^ctraosire mo;ioas that
            ze        tivtrc litigated , the a;lpellata mtltttr's and the .timz apeat far preporativA of the arbitratloa
            z9        prone+adiltgs . i flnd that tba fees clyarged by ooagsal fartllo respondents was teasonabIv.




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   Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 18 of 120 Page ID
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                 s       ]r^iarl ill tllc sum of ^^ ,7 80,461 A5 a^ainat respandsslsBarhad L.erian.


                 s >3a^av: February ^. xoo6


                 8                                                       Arbitrator, Judge Alan B , Fiabor(lot.)
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                   250 Los Angeles, California 900b7.

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                   I(n6at G. Wllsan, Esq.                                             ^TrY R . lroldmaa, 5aq.    .
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                       X              the abnvc is ttua and correct       '

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                  .......^.r.         court at whose directlon the service was made.

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                                EXHIBIT 22
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                  THIS EXHIBIT IS FILED UNDER SEAL

                  PURSUANT TO PROTECTIVE ORDER
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                                EXHIBIT 23
    Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 23 of 120 Page ID
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CONFYDENT^AL - ATTORNEYS ' EYES ONLX                                                                                   ^               MGA 3866369
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CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                                   ^                MGA 3866370
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                                                   Coankl.e & Qlesten
            Wi2liant C. Come                        Professional Law Corporation
            Christina Olesten                    3134 Wilslhil'e Boulevard, Suite 500
            3e^n A. Contz#e                        Santa Monica, California 90403
            Mark D. Kremer                                {31fl} 99$-9100
            Eric S. Engel                                 FAX: {3!0) 99&-9109
            Scott A. Hampton           Direct E-Mail: Aftorney' s Initials Qconklelaw cam
                                        Internet Homepage: ]itfp:lhvww. canklelms.com


            DATE:       September 7, 2005                                  TOTAL PAGES:               3     (Including Cover}
           FROM; Marie D. Kremer

            CLIENT/MATTERNAME:                    i_alian v. Larian

           CLiENT/MATTER NUMBER:                       2221.002

           DOCUMENT NUMBER (IF APPLICABLE};                               9787

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                                                          September 7, 2005
                                                                                                    Via Facsimile
                                                                                                    and U.^. Mail
                Daphne Gronich -
                16364 Roscoe Blvd.
                Van Nuys, CA 91406


                       Re:     Fazhad Larian/Isaac Larian and MGA Entertaixunent, Inc.
                               Our File No. 2221.002

                Dear Ms Gxonich:

                      Thank you for your letter of August 19, 2005. This shall constitute Farhad
                ("Fred"} Larian's substance to response.

                       l.    Fred did not obtain while at MGA^and does not have a confidential list
                 of home telephone numbers of MGA's current or former employees.

                       2.      We are unaware of any current or former employee complaints about
                Fred's efforts to contact them. We are aware of persons reporting that they have been
                threatened by you and other lawyers acting on behalf of MGA with litigation in an
                effort to block discloswre of information. These activities raise ethical, not legal
                concerns and we suggest you look with some circumspection on them

                       3.     Because of the generalizations you use to identify MGA's "trade secrets"
                 we are unable to intelligently evaluate your claim that any are involved here, but we
                 look with skepticism upon it. It is certainly not clear what, if any, information
                 concerning development of the Bratz Dolls is a "Trade secret". Isaac has made
                 numerous public statements about the subject. Much of the infonnation is sa old that



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             September 7, 2005                                                           CoNFItDENT1AL
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             it cannot possibly have any commercial value from being "secret" assuming that it
             ever did . Fred is not a competitor of IvIGA and has na use for any information which
             would impair its commercial value to MGA. Fred' s interest in the information is far
             use in the axbitration over Isaac ' s concealment of it in 24Q0 when it should have been
             disclosed to Fred and the appraisal . And in any event, MGA may not use a claim of
             "trade secret" privilege to assist Isaac in perpetrating a fraud.

                    4.     We cannot agree that Fred is attempting to induce any person to break
             a contract. We aze not aware of any contractual provision tl3at would. be violated by
             Fred's request for information and as indicated earlier we aze skeptical of the claim
             that any of the infom^atian Fred wants vyould qualify as a trade secret. Please send us
             a copy of the contact provisions upon which MGA relies so we may evaluate it.

                    Please call me to have a fi^il airing of MGA' s and Fred 's concerns.

                                                     Very      y yours,

                                                     M D. Kremer
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                                EXHIBIT 25
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                                                     HOWARTH L'3 SMITH
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                                                    LOS ANCEtES. CALiPQRNIA 90011
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                 VIA FACSII4C^LE AND U.5.1l^1AIi.
                 Larry R. Feldman, Esq.
                 Kaye Scholer LI,P
                 1999 Avenue of the Stars
                 Suite 1700
                 Los Angeles, California 90067

                                 Ite: Larian v, Larian              '

                 Dear Larry:

                        This letter is to follow up an our meeting at your office on February 26, 2004, and
                 our conversation by phone more recen#ly. Since then I have also received a letter from
                 you dated March 29, 200 asking abort our progress in getting back tc you, I trust you
                 received my message that I was out of the office in Hawaii last week and that I would get
                 back to you with a written response upon my return. 'Phis letter is the promised written
                 response.

                        The facts of which we are presently aware clearly show that it is not correct, as yvu
                stated in cur meeting, that at the end of 2000, Isaac believed Hratz was just another doll,
                or that Fred knew everything that Isaac knew. Indeed, even the limited evidence
                immediately available witheut discovery having yet occurred demonstrates just the
                reverse. For example:

                          •      The July 18, 2003, Wall Street Journal reports that sometime in 1999 Isaac
                                 had a conversation with a buyer from Wal-Martin which the idea for a
                                 8ratz-typo doll germinated, The article quotes Isaac as saying that "he was
                                 motivated by a challenge from a Wal-Mart Stores, Inc. buyer to `give me
                                 something that can compete with Barbie."' Isaac kept this conversation
                                 secret from Fred, and Fred found out about it for the first time when he read
           '                     the published article.

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                                      By late 1999, Isaac had decided that MGA's challenger to Barbie should be
                                      a fashion-type doq. MGA had previously distributed other types ofdells,
                                      but never a fashion doll, as the WSJ article confirms. For the first time
                                      ever, Isaac conducted a contest to select a design for the doll, and selected
                                      Carter Bryant's Rratz doll line as the winner of the contest. It is plain that
                                      Isaac did not considtr Bratz to be just another doll for MGA. The existence
                                      of this contest was concealed from Fred, and, in fact, Fred was never told
                                      that the Company was looking for afashion-type doll to compete with
                                      13arbie or that the Bratz line was being developed by Isaac and MGA during
                                      1999 and 2009, despite Fred's position as Isaac's partner and a cofounder
                                      of MGA.

                                      In late 1999, and continuing at Ieast through the spring of 200fl, Isaac
                                      ordered MGA employees to stop sharing financial information with Fred.
                                      Isaac threatened at least one employee's job if the employee did not follow
                                      Isaac's instructions and cut Fred out of the information loop. In addition,
                                      Isaac instructed an employee to stop sending Fred daily sales reports that up
                                      to that point, Fred had routinely received. The result of this concerted
                                      concealment effort was that Fred did not, and could not, know the complete
                                      financial picture of the Company.

                                      In February 20D0, Isaac tried to keep Fred from attending the N,Y. Toy
                                      Fair, the venue in which information about new, upcoming products is
                                      reviewed.

                                      Beginning in early 2000, Isaac began systematically portraying Fred, both
                                      internally end to the outside world, as someone who had no role in the
                                      management and decision making of the Company; and that Isaac alone
                                      controlled the strategic moves for MGA. In or about February 2000, Isaac
                                      had Fred's name removed from the Companyprofile,^and changed the
                                      document {and history} to list only Isaac as the founder of MGA. When
                                      Fred raised this issue with Isaac, he was told that "there is ... a lot more to
                                      come: '

                                      In the Spring of 2006, before the Agreement to Arbitrate was signed and
                                      before Isaac had announced his plans for 13ratz either publicly or to Fred,
                                      Isaac took steps to persana]{y proft from the I3ratz program. On April 1 I,
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               April 6, 2004
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                               2400, Isaac sought the following from the Company's 13oard of Directors:
                               (I} an increase in his annual salary from $221,000 to $500,000; (2} a bonus
                               of $750,000 for 1999; (3) a bonus of $1.S milIion in 2000 if EBITA for the
                               year reached $8 million; and (4} a separate bonus of a 4% royalty on any
                               new toy idea he personally developed in MGA's 200! line. Paying Isaac a
                               royalty for anything that he "personally developed" was an absolute first for
                               the Company, and the target figures in (3}and (4} plainly indicate an
                               unannounced, but real plan to exploit the Bretz market beginning in 2001.
                               A successful Bretz roll-out in 2001 would allow Isaac personally to profit
                               (at the expense of his fiduciary Fred} from the Bretz opportunity.

                               In or about July or August 2000, Isaac called internal meefmgs with top
                               management at MCA about Bretz and his plans for seizing the opportunity
                               presented by the doll line . Isaac expressed optimism in,tl;ese meetings that
                               the Bretz line could directly compete with Barbie, would appeal to an even
                               wider range of girls than did Barbie, and presented an opportunity he had
                               been looking to end for years. Fred, a 45% shareholder and officer of
                               MGA, was intentionally excluded from Chase meetings, end from the
                               special handling of Bretz.

                               Roughly contemporaneously with these interne! meetings, Isaac began
                               negotiating with Carter Bryant and eventually obtained from him the
                               worldwide licensing rights to Bretz. The license was unique in several
                               important respects. Far the first time in the Company's history, the Brats
                               license made Isaac and MGA the licensor of the product, allowing MGA to
                               control the licensing in an unlimited number of product categories
                               worldwide. Tn previous deals, MGA was just a distributorlficensee of a
                               product. `The difference between being a licensee and a Iicensor is
                               enormous and becomsng a Iicensor is something Isaac had wanted fora very
                               long time. Further, the Bretz deaf was unique because MGA paid more far
                               that license aF that doll than it ever had paid for a license of any other doll
                               in the Company's history. Fred was not taEd anything about the
                               unprecedented scope of the Bran license prior to signing the Agreement to
                               Arbitrate, or the Stoclt Sales Agreement in December 2000.




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                                  In the fail of 2400, Isaac began to develop the Bretz product line, including
                                  ordering prototypes and.filing additional trademarks. Fred was intentionally
                                  kept unaware of the scope of fsaac`s plans to develop and market Gratz at
                                  Ehat time.                                                                .

                                  During this time, including in the fall of 2000, Isaac followed a practice of
                                  passing along to Fred only negative financial news about the Con'ipany,
                                  such as a $2 million loss from cancelled Toys-lt-Us orders, thus making the
                                  Company seem worth much less than it actually was. Isaac did not disclose
                                  to Fred news which would have a positive financial effect on the value of
                                  the Company, such as his plans for Bretz or other potential revenue streams
                                  for the Company.

                                  bn December 1 I , 2040 MCrA filed, and Isaac personally signed,
                                  applications for five new trademarks, including one far each of the names
                                  of the Bretz dolls. Isaac's personally sigriing such applications facilitated a
                                  plan to keep knowledge about the scope of the Bretz program tightly
                                  controlled.

                                  Then, in February 2001, with Fred out of the picture after his execution of
                                  the December Stack Sale Agreement, Isaac went public about the scope and
                                  significance of Bretz, He introduced the dolls at the February 200 f N.Y.
                                  Toy Fair with the public assertion that it was now "a Bretz world."

                                  Isaac's view of ,Gratz was further documented in June 2001, confirming that
                                  Gratz was MGA's "first intellectual property" and his belief that it was
                                  "sure to revalutioni2e the world of fashion dolls."

                         All of this and other evidence strongly indicates that Isaac made a concerted effort
                 to get Fred out of the company so that he could exploit the unique Bretz opportunity
                 without sharing the benefits with Fred.

                      When we met, you provided us with three a-mails which you claimed
                 demonstraEed that Fred knew all of what Isaac knew about Bretz when he signed the
                 Agreement to Arbitrate. They do not. The e-mails -- dated November l5, 2000,
                 November 22, 2040, and April 30, 2001 -- were ail sent after execution of the September


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                April 4, 2004
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                2D00 Agreement to Arbitrate. Further, none of them give any indication oFanything
                unusual about Gratz that would alert Fred to its impact an the valuation of the Company.

                        You also asserted that the a-mails illustrate Fred's awareness of the Hratz program
                earlier than the time aEleged in the complaint on file in the action. Again that is not
                correct. Paragraph 28 of the Complaint alleges that in Iate spring ar summer 2002, Fred
                first became aware of the "true scope of the Company's extraordinary plans, efforts and
                history regarding the Gratz product line and other #inancial information about the
                Company that had been concealed from him by Isaac, as the license had been concealed
                from him." Nothing in the three a-mails is inconsistent with this allegation.

                         Additional evidence that Isaac attempted to defraud Fred into signing the
                Agreement to Arbitrate and to pay him less than the true value of his shares comes from
                Mr. butcher's appraisal. As may have been reported to you from the hearing an our
                motion to take Mr. butcher's deposition, the Court recognized the signi f cance of this
                infonnatian, saying that, "[t]his information is directly relevant as it goes to whether
                 [plaintiff) was defrauded because information about this new product was withheld from
                him." From what we can tell from the November 7, 2000, appraisal we have {and have
                given to you}, it seems apparent that Isaac did not provide Mr. Dutcher with information
                about the Company's plans far Bratz or projections of its revenue potential for 2000,
                200] and beyond. We are advised that Isaac engaged in regular financial modeling far
                the Company and that in those Forecasts, revenue streams were projected for each item the
                Company Bald or was planning to sell. There is nothing in the appraisal itself indicating
                that Mr. Dutcher received such 2000 or 2001 projections, either for the Company as a
                whole or for Gratz. Fui#her, it does not appear that the value of MGA Fntertaitrment, HK
                was included in the appraisal at all, and Fred's shares in that company were certainly part
                of what was covered in the Agreement to Arbitrate. In any event, we wil! fcrrow more
                about the information provided to Mr. Dutcher and how he proceeded when we get Mr.
                butcher's Files and take his deposition now that our motion has been granted.

                       Yau indicated to me that the Company actually last money for 2000 after realizing
               a profit in 1999, and thus using the 1999 figures in the appraisal worked in Fred's favor in
               valuing the Company. First, it is not apparent to us that the Company last money in 2000,
               as lease has not provided to Fred the tax returns or necessary financial information to
               verify that claim. From what we know, bath sales and profits were expected to be much
               greater in 2D00 than they were in 1999, If there was a lass in 2000, it certainly could have
               been the result of any number of things which would be largely irrelevant to a valuation
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              Larry R. Feldman, Esq.
              April 6, 2004
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              of the Company -things such as one tune writeoffs for non-repeating a"vents, deferring
              revenue and profit recognition into the future (perhaps as to Hallmark?); payment of large
              bonuses to management, shifting profits into subsidiaries; etc. We do not yet know what
              reserves were taken that may have reduced profits and we do not know what revenues
              were attributed to or held by MGA Hong Kong, Until we are prodtded with the financial
              information that will enable us to analyze the Company's 1'/I. statement, cash statement,
              cash flow analysis, and the like, and to have things fully audited, it is not helpful to be
              advised there was a stated loss, especially on rising revenues.

                     We do note that in the November 7, 2000 valuation, Mr. Dutcher states that "The
             most recent year (1999) was weighted only minimally as the EBDITA appears
             unreasonably high based on the t^aio prior years." Mr. Dutcher was looking at EBDITA of
             $2,915,OOD for 1997; EBDITA of a ]ass of $8b,000 for 1998; and EBDITA of $5,651,000
             for 1999. Looking at just those numbers, one can see why he might assume that the i 999
             nurnber;^were "high" based on a 1998 Ions of $86,000. However, as Isaac knew, the 1999
             revenues were not at all "unreasonably high" compared to the prior years because in 199$
             there was none-time loss of approximately $i0 million in revenues and $4.5 million in
             profits due to a Toys-R-Us sanction of refusing to do business for l .year. Further, the
             actual numbers for 2000 were consistent with the Company's strong growth, and had Mr.
             Dutcher had those numbers, he would have seen thak the 1999 numbers were not
             unreasonably high. When we have complete information accounted for, it appears there
             was a strong progressien of $2.9 million for 1997, $4.5 million for 1998 and $5.6 million
             for 1999.

                     $ecause they are not as subject to management and accounting choices - which we
             will need to examine - sales are important in looking at company valuation . it appears
             that sales were about $40 ,732,000 in 1998, $6b,350 ,000 in 1999 {from tax returns which
             Dutcher used), and we believe they were much higher in 2000 . However, Dutcher used
             $70,331, 000 as revenues for 2000 (a pro forma ti% increase over 1999}. We have now
             seen documents suggesting that revenues were already higher Phan this in 2000, perhaps
             as high as $90 ,000,000 or more.

                   Further evidence of how far off Mr. Dutcher was led by what Isaac gave hint and
             withheld from him is apparent when one looks at his 2003 projected revenues of
             $72,793,000 (3.5% pro forma over 2002). The Wall Street Journal article reports



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               April fi, 2044
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               expected sales of $800 million far 2003, 65% of which is accounted for by Bratz. The
               appraisal withou# the information on Bratz was thus more than 10 times lower in its
               projection far 2003 than it should have been,

                       When Isaac chose not to share key pieces of information about the scope of the
               Bratz project with Fred, and to selectively provide him a^td the appraiser with other
               financial information about the Company during 1999 and 2000 and projections for the
               future, there is no doubt Ehat he violated California law requiring him as a fiduciary to
               disclose all such information to his partner and co-venturer, Fred. Being a fiduciary
               means Ehat each owes the other tho "duty of highest loyalty and utmost good faith, being
               charged not Eo take any unfair advantage or secret profit." Universal Sales Carp. v.
               Callforrria Press Mfg. Co., 24 Cal. 2d 751, 772 (1942); BAA 12.3b. A fiduciary has a
               duty to make a full and fair disclosure of all facts which materially affect the rights and
               interest of the person to whom the duty is awed. A fiduciary must give priority to the best
               interest of the persons to whom the duty is owed. When there is a "fiduciary relationship
               any Eransaction by which one of the co-adventurers secures an advantage over the other or
               others is presumptively fraudulent and casts a burden on such party gaining advantage to
               show fairness and good faith in al! respects."-Boyd v. Bevilacqua, 247 Cal. App. 2d 272,
               29I {19bti).

                      IE is also a well-settled and fundamental precept that a fiduciary such as Isaac may
              not usurp business opportunities such as Bratz for himself at the expense of Fred as his
              co-fiduciary. In Macfsaac v. Pozzo, Sl Cal. App. 2d 278 (1947), the parties entered into a
              partnership to do business together and had agreed to split profits equally. However,
              plaintiff went out on its own and improperly made a deal with a custarner, Utah Fuel Co.,
              and got the defendant to agree to take only I S% of the profit. When the proceeds from
              the Utah Fuel deal came in, a declaratory judgment action was instigated by the plaintiff
              and Pozzo defended on the ground that the agreement to split the profits $S/15 was
              procured 6y fraud. In agreeing with Pozzo, the court held the following:

                                 [[jf there is presented to a corporate officer or director a business
                         opportunity which the corporation is financially able to undertake, is, from
                         its nature, in the line of Ehe corporation's business and is of practical
                         advantage to it, is one in which Ehe corporation has an interest or reasonable
                         expectancy, and, by embracing the opportunity, the self interest of the
                         officer or director will be broughi into conflict with that of his corporation,
                         the law wilt not permit him to seize the opportunity far himself. And, if in
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              April b, 2444
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                       such circumstances, the interests of the corporation are betrayed, the
                       corporation may elect to claim all the benefits for itself, and the law will
                       impose a trust in favor of the corporation upon the property, interests and
                       profits so acquired.

                               The facts bring the case within the stated rule. While it has been
                       applied so generally in corporation cases to have become known as the
                       doctrine of corporate opportunity; it is founded in ing doctrine of loyalty ip
                       business which,a,^Rlies in al situations in which trusrLis reposed The
                      fiduciary is held ra the utmosl measure of loyalty and accordingly he may
                       not use a trust opportutriry for personal advantage. "The policy of the law
                       is to put fiduciaries beyond the reach of temptation by making it
                       unprofitable for them to yield to it."

                              The primary duty of the patties was to take no advantage of each
                      other within their fiduciary relationship by means of he s ' t
                      concealment, misrepresentation, or adverse pressure. Defendant was
                      entitled to a complete disclosure as to the negotiations with Utah Fuel Cv.,
                      and an equal opportunity to take advantage of them. Plaintiff contrived to
                      appropriate for itself the major share of the praftts with the result that the
                      firm, when it took the contract and assumed the responsibility, stood
                      oommitted to an unequal division. Defendant could not be deprived of its
                      rights in this matter.

                              The judgment properly awarded defendant the amount by which
                      plaintiff profited through breach of duty. Whether it be regarded as
                      damages presumed to have been suffered through deprivation ofa business
                      opportunity or as profits unjustly received by a plaintiff is imrrtaterial.

             Id. at 284-85 (emphasis supplied; extensive internal citations omitted). See also, e.g.,
             Witkin, 9 Summary of California Law § 20, p. 419 (9flr ed. 1994) ("The fiduciary
             relationship ...obviously makes applicable the rule which, rn cotpDrattan law, rs known
             as the doctrine of `corporate opporhanitics"'); ,4ir Purification v. Carle, 99 Cal: App. 2d
             258, 245 (] 95(}) (holding ("€lnJ a trust relationship .. ,one of the parties will not be
             allowed to deal with the subject matter of the association for his own advantage.").



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                    April 6, 2004
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                           Based on just what we know without discovery it is'clear that Isaac has ignored the
                   requirement that he not engage in "the slightest concealment." When Isaac put together
                   the licensing deal for Gratz without informing Fred of his plans or sharing with Fred the
                   financial expectations and rewards deriving therefrom, Isaac viola#ed his duties as a
                   fiduciary, and he will have to account to Fred.

                           In addition to Isaac's duties to disclose to Fred all material information relating to
                   the Company, and to refrain from usurping a business opportunity- both of which arose
                   from his fiduciary relationship with Fred - Isaac's actions in isolating the Bretz and other
                   financia! information from Fred also created an independent duty of disclosure. As
                   Witkin notes, "The duty to disclose may arise without any confidential relationship where
                   the defendant alone has knowledge of material facts which are not accessible to the
                   plaintiff:" Bernard E. Witkin, S Summary of California Law, ^ 700, p. 801 {9th ed. 1990;
                   citations omitted}. Here, as reoited above -from holding secret meetings to instructing
                   Company employees not to give Fred information --Isaac went to great lengths to make
                   sure the material facts about the Bretz doll project were "not accessible" to Fred, when he
                   had a duty to inform him of the scope of the Gratz program before entering into the
                   Agreement to Arbitrate and Stook Purchase Agreement. It was impermissible for Isaac to
                   keep his plans for the scope of the Gratz program secret. Also, note that ^(6 of the
                   buy/sell agreement itself makes clear that it is Isaac, not Fred, who has "full knowledge of
                   business prospects."

                          Isaac has indicated to Fred a willingness to address the merits and provide us with
                   documents in his possession and control , including those held by the companies. Our
                   outstanding discovery requests are a good listing of what we need , but in summary, we              _.
                   certainly need each of the following:

                           I. AIf documents that relate to Gratz from 1999 through 2003, including
                   trademarks, license agreement negotiations with Carter Bryant, notes or agendas of
                   meetings re: Gratz, prototypes, designs, correspondence with attorneys re: the license
                   agreement or trademarks, and financial documents, including sales and revenue
                   projections, audited and unaudited;

                          2. All documents that relate to the value, revenues and costs of MGA, ABG and
                   MGA Hong Kong from 1999 through the present, including alE internal materials,,
                   projections and tax returns , al] reserves , write downs and supporting documentation;


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                   fi                .....^...
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^^,^^        .^ 3^^
Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 39 of 120 Page ID
                                  #:58083




                                Larry R. Feldman, Esg,
                                April b, zoaa
                                Page I ^

                                      3. All information that Isaac and/or the companies provided to Morad and/or Mr.
                                Dutcher;

                                       4, All corporate minutes, shareholder resolutions, stock options grants or proposals
                                and related documentation, and general ledgers far ABC, MGA and ^MGA Hong Kong.

                                        In addition to this documentation from Isaac, we also need his reconfirmed
                                agreement to allow Morad to release his file. We also need written confirmation by Isaac
                                that he wants full and honest disclosure by any person who is a witness to the events
                                herein; that he will not directly or indirectly retaliate against any person based on what
                                they disclose; and that he is encouraging and requesting them to give Fred a candid,
                                honest, and oomplete response to any questions Fred may have of them. In exchange for
                                such complete disclosure, Fred is also willing to produce his records now.

                                      Dace we have received the above, and do our homework in connection with what
                               we find, we will be in a position to make a recommendation as to proceeding with a
                               binding reference of this matter to a retired judge, and what the order of reference would
                               provide, We also have some candidates to put forward in this regard. If in the meantime
                               you are interes#ed in anon-binding mediation, we are prepared to support that
                               immediately, and without further discovery beyond production of the- materials indicated.
                               We have some thoughts as to who might be able to get this sorted out between these
                               brothers, so that the matter can be closed. Please Eet me know if this is an option,


                                                                          Very ly yours,


                                                                         Don Howarth




                               OO.E181001.086




                                                                                                                      HS 03244.




^x^^ to ^ ._..._Y__....__...
Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 40 of 120 Page ID
                                  #:58084




                 Larry R Fcldman, 1~scE.
                 ApriE6,2004
                 Page i 1

                 bcc:    Mr. Farhad Larian (via U.S. Mai!) '




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Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 41 of 120 Page ID
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                    '                                                         Howarth & Smith
                                                                               A'3'TQRNEYS AT [.,AW.
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                                                •                                        5uitc 750
                                                                               Los Angclcs , CaiiFomia 90017
                                                                          -          (2i3} 955-9400
                                                                                   Fax: (ZE3} 622-0791




                                                                    ^'AX CQVER SHEET
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                        Sent by:                Jason Sickler                                                         Date: Apri16, 2404

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                        COMMENTS:




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                                EXHIBIT 33
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                                EXHIBIT 34
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                                EXHIBIT 36
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                                EXHIBIT 39
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                               EXHIBIT 42
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                               EXHIBIT 44
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                                EXHIBIT 46
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                                EXHIBIT 47
        Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 85 of 120 Page ID
                                          #:58129
a       _ ^


    From                                             'Carter Bryant' <cbe1068(a^sbcgloba[.net>
    To:                                              Isaac Larian (kresident % CEO) <Lariarril^mgae.com>
    CC:                                              LDjignerian rt mgae .com <LDjiguerian tr mgae.com^
    Sent:                                            61512(306 9:38.52 AM
    Subject:                                         RE. eBay


    OK will review when the ebay item corner in.
    thanks!

    Carter

    "Isaac Larian (Presirlerat /CEOJ„ <Larian,^X^dJnga^com> ^^rote:

    Thanks.

    Guys, lets do 'this in BRATZ look ASAP. It will be HOT[ f



    Isaac Larian
    CED
    MG Entertainment, Inc
    A Consumer Entertainment Product Co.
    " A rnan 's every act t^egins with a dream and ends with one'°-hlerzl
    16380 Roscoe Bled. Suite 200
    Van Nuys, California 91406                                                                .
    Tel: 818-894-315a
    email: lariani1(c^mgae.com                                                            '
    (^c'I \. is ^ ^-F+Cr,^.. I r....

    www.rt^gae_com
    www.bratz.com



    From: Ninetts Pembleton
    Sent: Monday, June 05, 2006 9:02 AM
    To: isaa^ Cation {President / (:EO}
    Cc: Carter Bryant; Leon Djiguerian; Ray Martin
    Subject: RE: eBay


    Purchased one today and it should arrive. by end of week.

    Stil! bidding on a Znd one.                                                           .
                                                                               ..
    See attached .                     ^^^4i$I^      __^^ ..                                               ,
  Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 86 of 120 Page ID
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Fr^^: Isaac Carton (President J CEO)
Sent Saturday June Q3, 20Ub 5:58 PM
^o: Ninette Pembieton
Cc: Carter' Bryant; Leon Djiguerian; Ray Martin
Subject: ei3ay                                                                                                .
Remember the talking parrot: Pete the Repeat?

Can you please get 2-3 samples on eBay.

t want to make a Bratz KIDZ version!
^SaaC Marian
CEO
MG Entertainment, Inc
A Consumer Entertainment Product Co.
" Each day we need good thoughts to live by. And remernber ...you get
what you order in life." -Alfred tlllontapert
16380 Roscoe Blvd. Suite 200
hart Nuys, California 91406
Tel:. 818-$94-3150
email: I^riani1 ^mgae.com

wvvW_mgae.CDm
wwvv.bratz. com

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this e-mail and any copies from your computer system without delay. Please also notify the sender (or
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                                EXHIBIT 4$
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                                EXHrBIT 49
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                                EXHIBIT 50
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                  I QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                      John B. uann (Bar No. 09037'8
                  2   Michael .Zeller (Bar No. 196 17)
                      Jon D. Corey (Bar o. 185066)
                  3   Tanis M. Krebs (Bar No. 227281 } .       ^'
                    865 South Figueroa Street, 10th Floor
                  4 Los An eles California 90017-2543         ^                      ^   `=-
                     213 443-300 telephone}                                              ^^`=   .
                  5 ^213^ 443-3100 ^facsrmile)                                           ^'<:
                  6 Attorneys for Plaintiff and Counter-Defendant                        ^^
                    Mattel, Inc.
                  7                                                                      c
                     LITTLER MENDELSON                                           ^       -^-
                       Robert F. Millman {Bar No. 062152                     ^
                       Dougglas A. Wickham (Bar No. 12768)
                   9   Keitfi A. Jacoby (Bar No. 150233)
                     2049 Century Park East, 5th Floo 1
                  i0 Los An eIes, California 90067 3 07
                      310 553-0308 telephone)
                  11 ^310^ 553-5583 ^facsrmile)
               12 Attorneys for Defendant and Counter-Claimant
                  Carter Bryant
               13
                                         UNITED STATES DISTRICT COURT
               14
                                       CENTRAL DISTRICT OF CALIFORNIA
               15
                  MATTEL, INC., a Delaware corporation ,) CASE NO. CV 04 9059 NM (RNBx)
               16
                                      Plaintiff,            DISCOVERY MATTER
               17
                          v.                                JOINT STIPULATION RE:
               18                                           MATTEL'S MOTION TO COMPEL
                  CARTER BRYANT,. an individual , and       PRODUCTION OF DOCUMENTS
               19 DOES 1 through 10, inclusive,
                                                            Hearing Date :     January 25, 2005
               20                     Defendants.           Time:              9:30 a.m.
                                                            Courtroom:         540
               21
                  CARTER BRYANT, on behalf of himself,
               22 all present and former employees.of       Hon. Robert N. Block
                  Mattel, Inc., and the general public,
               23                                           Discovery Cut-off Nat Set
                                      Counter-Claimant,     Pretrial Conference : Not Set
               24                                           Trial: Not Set
                         •v.
               25
                     MATTEL, INC., a Delaware corporation,
               26
                                       Counter-Defendant.
               27
               28
^zo9/62s 168. ^
1/4105 15:53
                                                                             JOINT STIPULATION
                      PAGE         ^3^
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                                       #:58137



                 1                        Pursuant to Federal Rule of Civil Procedure 37 and Local Rule 37,
                 2 ^ Plaintiff and Counter-Defendant Mattel, Inc. ("Mattel") and Defendant and Counter-
                 3 Claimant Carter Bryant {"Bryant") respectfully submit this Joint Stipulation an
                   i
                 4 ^ Mattel's Motion to Compel Production of Documents.
                 5                                    Mattel' s 1[ntroductory_Statement
                 6                        Defendant and Counter-Claimant Carter Bryant is withholding relevant
                 7 ^ documents and has refused to produce a complete privilege log. Mattel therefore
                     ^ respectfully seeks the Court 's assistance to obtain the information it is entitled to.
                 9                        Mattel's Claims And Bryant' s Counterclaims . Bryant is a farmer
                10 Mattel employee. He worked as a Mattel product designer from September 1995 to
                11. April 1998, and then again from January 1999 tv October 2000.' Upon starting his
                12 second term of employment with Mattel, Bryant executed an Employee Confidential
                13 Information and Inventions Agreement.2 There, he agreed that during his Mattel
                14 employment he would not, without Mattel's express written consent, "engage in any
                15 employment or business other than far Mattel], ar invest in or assist (in any manner)
                16 any business competitive with the business or future business plans of [Mattel]."
                l7 Bryant also assigned to Mattel, to the fullest extent of the law, all rights in
                18 "inventions," including "designs," that he created during his Mattel employment. In
                19 his agreement, Bryant further promised not to disclose ar misuse Mattel's proprietary
            20 or confidential information, which is an obligation that continues to this day.
            21                            In November 2043, Mattel obtained a copy of a contract between Bryant
            22 and a Mattel competitor, MGA Entertainment ("MGA").3 That contract--which
            23 ^ Bryant and MGA entered into while Bryant was employed byMattel--required Bryant
            24 ^ to provide design services to MGA on a "top priority" basis, in conflict with his then-
            25
                      ' See Decl. of Michael T. Zeller, dated January 4, 2005 and filed concurrently
            26
               herewith {"Zeller Dec."), Exh. 1 {Complaint at ^ 9) & Exh. 6 {Cross-Complaint at ¶ 7).
            27        z Exhibit A to the Complaint (Zeller Dec., Exh. 1).

            28                    3 Zeller Dec., Exh, 1 S.
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1l410S 17 :20         ,_„ ^ ^ ^,.,. ^ ^      ^                        1
                                                                                            JOINT STIPULATION
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                 1   existing obligations to Mattel. It also purported to grant MGA ownership of works
                 2 produced by Bryant, both before and after the agreement's effecrive date, in further
                 3 ^ contravention of his obligations to Mattet a
                 4                 Mattel filed this suit for breach of contract, breach of fiduciary duty,
                 5 breach of the duty of loyalty, unjust enrichment and conversion.5 Bryant has brought
                 b ^ counterclaims, seeking to invalidate Mattel 's agreements with all of its past, present
                 7 ^ and future employees, along with sweeping requests for damages and other relief
                 8                 Sryan^'s Refusal to Provide ^Il Discovery. As shown in detail below,
                 9 discovery thus far has confirmed that Bryant did work for and aided MGA during his
                10 Mattel employment. This included work on a doll line now known as "Bratz" and an
                11   ostensibly separate doll called "Angel." There is also evidence that he used internal
                12 Mattel information and resources to benefit himself and MGA, to Mattel's detriment.
                13 While still employed by Mattel, he enlisted other Mattel employees to build a
                14 "prototype" Bratz doll for his sales pitch to MGA-a pitch that he made vsrhile
                15 employed by Mattel. Weeks before he left Mattel, and using Mattel resources Bryant
                16 targeted Mattel vendors and engaged them to start their work on Bratz. According
                17 to Bryant, he has earned "millions of dollars" from his relationship with MGA 6
                18                 At every passible step, Bryan# has stonewalled Mattel's efforts to obtain
                19 ^ discovery into the full scope of his wrongdoing. Among many other things, he
                2a evaded deposition for over four months. At one point, to avoid a motion to compel,
                21 Bryant's counsel even gave their "word as attorneys" that he would sit for deposition
                22
                23          a Td., Exh. 15 at'^¶ 3{a}-{b).
                24          s Mattel originally filed this suit in Los Angeles County Superior Court, and Bryant
                     removed to this Court for the first tune on May 14, 2004. By Order dated August 20, 2004,
                25 Judge Manella granted Mattel's motion for remand and sent the case back to state court.
                26 Zeller Dec., Exh. 3. Bryant nevertheless turned around and removed for a second time on
                     November 2, 2004. Mattel has a pending motion for remand on Bryant's second removal
                27 that is currently set to be heard by Judge 1Vlanella on January 31, 2005.
                28         6 Zeller Dec., Exh. 4.
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                1 on a date certain in August , only to unilaterally renege at the last minute . Even after
                2 '^ that, it took two Court Orders compelling Bryant's deposition before he appeared.
                3                Bryant persists in similar tactics with respect to his document
                4 production, despite Mattel's repeated efforts to resolve the matter without judicial
                S intervention. He either has failed or refused to produce key categories of information,
                6 including documents directly relating to his breaches of his duties to Mattel. For
                7 example, Bryant refuses to produce any responsive documents that were created after
                S this suit was filed in Apri12004, even though there is no basis in law or logic for such
                9 a limitation, especially in this case where his breached obligations to Mattel include
            10 obligations that are still in force. He additionally has imposed a multitude of other
            Il restrictions on His production by refusing to disclose documents "created" after
            12 certain dates, even as to plainly relevant categories of information and even though
            l.3 such.information irrelevant regardless of when it was "created."
            14                   Moreover, what Bryant has produced is woefully incomplete. He has not
            lS produced all of his contracts with MGA and refuses to produce non^privileged
            16 communications relating to those contracts. fIe is withholding entire categories of
            17 financial information relating to his work for MGA, and the financial documents he
            18 did produce are so heavily redacted that they are useless. Bryant has turned over
            19 faxed documents that are missing fax header information and/or that lack fax cover
            20 sheets. This is particularly troubling because timing and the chronology of events are
            21 important to the merits of central issues in the case. His production also includes a
            22 variety of documents that refer to other documents, including attachments, that have
            23 not been produced. Although Bryant agreed weeks ago to inquire into these and other
            24 deficiencies, he has not responded to Mattel's follow-up efforts on the matter.
            2S                   Bryant also has failed to produce, even in hard copy forna, emails and
            26 ^ other electronic documents that are lrnown to exist relating to his work on the "Bratz"
            27 project and for MGA. He nevertheless has rebuffed Mattel's requests to inspect the
            28 hard drives of his computers, even though he himself has made no attempt to
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                    1 ^^ determine whether deleted files on the drives contain responsive information and
                         ^ even though the law is clear that Mattel is entitled to such information.
                    3                  Mattel respectfully requests that its motion to compel be granted.
                   4
                    5                              Bryant's IntraductorX Statement
                    6                  To understand and appreciate the issues raised in Plaintiff and
                    7 Counter-defendant Mattel Inc.'s ("1Vlattel") discovery motion, it is critical for the
                    8 Court to consider the procedural posture within which the motion arises. 'This case
                    9 has been twice removed to Federal Court by Defendant and Counter -claimant Carter
               10 Bryant ("Bryant" } on the grounds that diversity jurisdiction and federal question
                   11 jurisdiction exist. Mattel has steadfastly insisted that no federal questions have been
                   12 raised by its Complaint, and that diversity jurisdiction does not exist because Bryant
               13 cannot prove that more than $75, 000 is in controversy. On one hand, Mattel has
               14 postured to Judge Manella that this case is a small employment lawsuit regarding
               15 Bryant's alleged performance of services for a competitor , in the weeks before he
               16 terminated his employment at Mattel . 4n the other hand, Mattel urges this Court to
               1^ compel responses to wide ranging discovery requests, covering documents created
                   18 by Bryant and others over the course of his entire life, on subject matters that could
               19 only be germane to this lawsuit if Mattel were seeking to recover all of the money
               2a Bryant has earned since leaning Mattel, i. e. royalties earned over the course of the
               21 past four years as a result of the sale of products sold under the trade name "Bratz."
               22, Mattel's inconsistent positions taken before Judge Manella and before this Court
               23 cannot be reconciled with each other.
               24                      Mattel` should not be permitted to gain any advantage from its
               25 duplicitous assertions about the scope of this lawsuit. Mattel alleges Bryant violated
               261 his contractual duties and duty of loyalty to Mattel in the weeks leading up to his
               27 resignation. Bryant's compensation during his last weeks of employment at Mattel
               2$ totaled less than REDACTED. Since then, he has earned REDACTED from
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                   ^^                                    IssuE lvo. s
                   2     Should Bryant Be Compelled To Froduce His Communications Wrth MGA
                   3^ Qr Relating To Bratz, Including By Producing His Computer Hard Drives For
                   4;        Inspection And Unredacted Versions Of His Telephone Records?
                   5.,
                   6i              Set forth below are: (A) Mattel's Requests that are relevant to Issue
                   7 No. 5 and Bryant's Responses to Mattel's Requests; (B) Mattel's position; and (C)
                   8 Bryant's position.
                   9
                  IO         A.    Mattel' s Rearrests Aud Bryant's Responses

                  11
                  12 REOiJEST FOR PRODUCTION NO.23:                                 •
                  13               All COMMUNICATIQNS between YOU and MGA that REFER OR
                  14 ^ RELATE TO any work or services that YOU performed for or on behalf of Mattel,
                  15 ^ Inc. or YOUR employment by Mattel, Inc.
                  I6
                  17 RESPONSE TO REQUEST FOR PRODUCTION N0.23:
                  18               Defendant incorporates by reference each and every objection set Earth
                  19 above in the General Objections. Defendant objects to this request on the grounds the
                  20 terms "work" and "services" are vague, ambiguous and fail to identify with sufficient
              21 particularity the documents to be produced. Defendant fi.^rther objects to this request
              22 on the grounds that it is overbroad, unduly burdensome and unintelligible to the
              23 extent it fails to identify a specific time period or proper subject matter, and on that
              241 basis seeks documents not relevant to this action and not reasonably calculated to lead
              2S to the discovery of admissible evidence.           Defendant also objects to this request
              26 insofar as it invades the privacy and/or confidentiality of other individuals who are
              27 not parties to this action. Finally, Defendant objects to this request to the extent it
              28 seeks documents prepared in anticipation of litigation or that are protected by the
                                                                          .                .F_"


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                 1 employment by Mattel or work that he performed far Mattel, those documents are
                 2 plainly relevant. They are pertinent to his knowledge of his obligations to Mattel
                 3 {which Bryant has put at issue in an effort to avoid his Mattel agreements} and to the
                 4 willfulness of his tortious conduct (which is relevant to punitive damages). They
                 5 also, in themselves, may establish Bryant's liability, such as by proving additional
                    instances in which he used or conveyed to MGA internal .Mattel proprietary
                    information in breach of his duties to Mattel.
                                 Nor is these any legitimate justification for his unilateral limitation on
                    relevant communications unless they happened to be "created prior to October 21,
             l0 2000." For the reasons already shown, Bryant's artificial date restricrions improperly
             11 deprive Mattel of discoverable information relating to Bryant's accused conduct and
             12 are unsupported bylaw or common sense. Indeed, that is particularly evident here.
             13 He is refusing to turn over communications with MGA "created" after October 20,
             14 2000 relating to his Mattel work. If Bryant's restriction were adopted, he would be
             1S ^ free to conceal documents showing that, a week or a month or a year after he left
             16 Mattel's employment, he further breached his on-going duties to Mattel by using or
             17 disclosing yet more confidential- Mattel information. Bryant's limitation cannot be
             18 sustained.
           . 19'                  Bryant Also Should Be Ordered Ta Tnrn Over his Hard Drives. A

             20 request for "documents" under Rule 34 operates as a request for documents stored in
             21 electronic form.        ee Playboy Enternrises , Inc._v: Welles, b0 F . Supp. 2d 1050, 1053
             22 (S.D. Cal . 1999}; Fed . R. Civ. P. 34, advisory committee' s note.b6 Yet, among the
             23 ^i documents and things that Bryant has refused to produce are the hard drives from his
             24 j computers. Bryant used these computers to communicate with and perform work for
             25
             26
             27             66 Mattel's requests also explicitly defined "documents" to include electronic data
             28 and documents. Zeller Dec., ^ 10 and Exh. 12.
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                I 1 MGA, but he refuses to allow Mattel to inspect any of their hard drives .67 Bryant
                2 used three different computers that Mattel is aware of that are relevant here. First,
                3 Bryant purchased a desktop computer in October 2000 (the "Desktop"}.6g             Bryant
                4 admitted at deposition that he used this computer for a period of time and then gave
                5 it to his niece.69 Second, Bryant purchased a laptop computer in November 2001.7D
                6 Third, Bryant testified that he used his parent's computer for a time, including during
                7 the time that he purportedly created "Bratz.""
                                   There is more than ample basis to believe that the hard drives of these
                9 ^ computers contain responsive documents and relevant information .               Bryant's
               10 ^ production includes a smattering of documents that were computer-generated or
               11 printed from a computer, although he has not produced all such documents known to
               12 exist as explained further below. For example, Bryant has produced hard copies of
               13 a few electronic-mail messages.' He has also produced documents that were created
               14 by computer, including correspondence.73
               15                  During a telephone conversation with Bryant's counsel, Mattel first
               16 learned of the existence of the Desktop and that Bryant had purportedly given it away
               17 to his niece.74 In later correspondence, Bryant'scounsel indicated that he had looked
               18 at the hard drive of the Desktop, but located no responsive documents.75 He refused
               19
               20
               21         b' Zeller Dec., Exh. 49.
           22             b& Zeller Dec., ¶ 30 and Exh. 72 {at 246:3-5).
                          69 Zeller Dec., Exh. 72 (at 246:2-246:17).
           23
                          7° Zeller Dec., Exh. 72 {at 245:7-248:11}.
           24
                          " Zeller Dec., Exh. 72 (at 245:25-246:1).
           25
                          'Z Zeller Dec., ^ 30 and Exh. 26.
           26             73 Zeller Dec., ^ 31
           27             Ta Zeller Dec,, ¶ 36 and Exh. 46.

           28             75 Zeller Dec.,' 37 and Exh. 49.
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                   1 to allow Mattel to inspect the hard drive,76 even though there is no evidence that
                   2 Bryant made any effort to conduct a forensic analysis of that hard drive or to
                   3 determine whether any deleted documents could be retrieved and produced." Indeed,
                   4I because as far as Mattel could tell Bryant did not create any forensic copy of that {or
                   5 any other) hard drive , Mattel requested that Bryant ' s counsel take possession of the
                   6 hard drives to ensure that any evidence that they may contain is nat destroyed.'
                   7 Counsel for Bryant never responded.79
                   8                  Compelling the production ofthe hard drives to Mattel is appropriate for
                   9 two principal reasons. First , it is appropriate to ensure that evidence is not lost and
               10 '^ to permit Mattel to ascertain whether any files of relevant materials have been
               11 deleted . Because Bryant's counsel will not make these hard drives available for
               12 inspection (and indeed has not undertaken to secure the computers to ensure that no
               13 electronic evidence is destroyed ), Mattel should be permitted to makemirror -images
               14 of the hard drives of each computer . Creating amirror-image not only is forensically
               1S sound, but it takes very Tittle time and causes no disruption to the computer's
               16 functionality. Even if the evidence on Bryant's computers has been or is deleted ar
               17 otherwise tampered with, the hard drives must be produced . Deleted computer
               1$ records are discoverable. See Simon Property Crroup L.P._v._my_Smon, Inc.,, 194
               19 F.R.D. 639, 640 (S.D. Ind. 2000) {" ^C]omputer records, including records that have
               20 been 'deleted,' are documents discoverable under Fed . R. Civ. P. 34.").
               21                     Second, Mattel is entitled to discovery to determine whether the
               22 ^ computers contain additional responsive documents. The evidence suggests that they
               23 do. Bryant ' s counsel has represented that he looked at one hard drive for responsive
               24 ^ documents, but apparently has made no effort to look for or recover deleted data from
               25;
                             7^ ^a.
               26^
                             ^' Zeller Dec., ¶ 37.
               27            '$ Zeller Dec., ¶ 3$.
               2$            'g Zeller Dec., ^ 38.

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                   1 that hard drive and made no effort to examine the other computers at a11.80
                   2 Deficiencies in Bryant's production confirms that the hazd drives likely contain
                   3 relevant materials.. Bryant used email in his exchanges with MGA and others
                   4 pertaining to Bratz.8i He also recorded various a-mail addresses that he used and
                   S produced a document containing some of them to Mattel.82 Elsewhere, in a letter,
                   6 Bryant specifically invited the recipient to contact him by a-mail: "Please do not
                   7 hesitate to email me if you have further questions."83        Yet, there is irrefutable
                       evidence that Bryant has not turned over even hard copies ofall his responsive emails
                   9 or their attachments. MGA, for example, produced a-mail messages that Bryant
                  10 exchanged with Isaac Larian and Paula Treantafelles of MGA in 2000. Yet, Bryant
                  11 has not produced these emails in any form, and, given the dates on the emails, it is
                  12 highly likely that files containing these and other emails are on the hard drive of his
                  13 Desktop.      Indeed, despite the existence of such known, additional electronic
                  14 documents, Bryant's entire production (approaching 1600 pages} contains only a few
                  1S pages of computer-generated documents: a few a-mail messages, four letters, and a
                  16 resume.     Mattel is entitled to inspect the hard drives of Bryant's computers to
                  17 determine whether they contain responsive documents.
                  18                 Bryant may argue that his "personal" computers should somehow be
                  19 immune from discovery. That azgument would be wrong. Courts permit inspection
                  20 of home computers. See, e.g^, Superior Consultant Co. v. Bailey, No. 00-CV-73439,
                  21 2000 WL 1279161, at * 13 (E.D. Mich. Aug. 22, 2000} (ordering defendants tv "create
                  22 and produce to defense counsel a backup file of defendant Bailey's laptop computer,
                  23 ^ and a backup file of any personal computer hard-drive to which defendant Bailey has
                  24
                              80 Zeller Dec.,' 37.
                  25
                              $' Zeller Dec., Exhs. 2426.
                  26          az Zeller Dec., Exhs. 40 & 73 (at 440:11-21).
                  27          s3 Zeiler Dec., Exh. 21.

                  28          84 Zeller Dec., Exhs. 24 & 25.                                •,
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                  1 had access at any time"). Such an inspection is particularly appropriate where, as
                  2 here, the responding party used the computer for business purposes.
                  3                For these reasons, Bryan# should be ordered to make all computer hard
                  4 drives within his possession, custody or control available for Mattel's inspection and
                  5 forensic imaging.
                  6                S ant Should Be Com elled To Produce His Tele hon Rec rd
                  7 Without Redactions . Bryan#'s telephone records are responsive to these requests.
                      Bryant has produced some telephone records.85 He saw fit, however, to redact the
                  9 vast maj ority of the call information on these documents. He went so far as to redact
              10 all of the call informatinn on his Pacific Be11 telephone bills.86 Bryant has also
              11 produced na telephone bills for a carrier known as "tti National, lnc." for any date
              i2 prior to October 23, 2000 for one phone number or any date prior to October 26, 2000
              13 for another phone number.$' While Bryant may assert, yet again, that rights of
              14 confidentiality or privacy justify his stonewalling, the Protective Order more than
              1S adequately protects any such rights. He should be ordered to produce the telephone
              16 records in^his possession without redaction.
              17                   Bryant's objections should be overruled in their entirety, and he should

              18 be ordered to produce all responsive documents.
              19
              2a            C.     Bry^nt's Position
              21                   There is perhaps nothing more far-fetched in this motion than Mattel's

              22 contention that "Bryant has completely refused to produce communications between
              23 himself and MGA." Bryant has not "refused" to produce communications between
              24 himself and MGA. To the contrary, he has produced his agreement, his royalty
              2S statements, all manner of artwork that was done for MGA or that was assigned to
              26             as See Zeller Dec., ¶ 28 and Exh. 34.
              27             86 See Exhibit 34 to Zeller Dec.
              28             87 Zeller Dec., Exh 34.

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                 i MGA. Moreover, and contrary to Mattel's contentions, Bryant has made an extensive
                 2 and diligent search for responsive and relevant information. As Bryant's counsel has
                 3 expressly told Mattel, Bryant made the hard drive of the computer he used from 2000
                 4 to 2002 available to his counsel, and counsel spent scores of attorney hours searching
                 5 far documents at Bryant's home and in his studio, and produced responsive
                 6 documents. Counsel has not found anyresponsive documents or relevant information
                 7 on his computer hard drives, however. (Jacoby Decl. ¶ 22). Mattel's unsubstantiated
                 S comment that Bryant's counsel "apparently has made no effort to look for or recover
                 9 deleted data from that hard drive and made no effort to examine the other computers
             10 at all" is a complete falsehood, and contradicts express representations made to
             11 Mattel's counsel in the meet and confer that Bryant's counsel had expended
             12 significant time examining the computer. While Bryant has tirelessly searched for
             13 and inspected his computer hard drives for relevant information, there is irrefutable
             i4 evidence that Mattel has not turned over all of its electronic data related to Bryant,
             15 such as responsive emails or their attachments, and Mattel has refused to make its
             16 technical person knowledgeable available for deposition. (Jacoby Decl. ¶ 23}.
             17                   Mattel complains that Bryant has not simply turned over the hard drive
             18 from Bryant's home computer, which he gave to his niece in 2002. That hard drive,
             19 however, contains personal informarion and data that is unquestionably protected by
             20 his constitutional right ofprivacy, and that of his niece. See Cal. Const. art. 1, § Y.;
             21 also see TBG Insurance Serv's Co . v. u erior Court, 96 Cal. App. 4th 443 (2002}
             22 (reasonable expectation of privacy exists in the use of a personal home computer that
             23 is owned by a party). Federal law similarly supports Bryant's right to privacy.
             24 Pursuant to the Erie doctrine, federal courts sitting in diversity should apply state
             25 substanrive law and federal procedural law. Other circuits have also held that a
             26 reasonable expectation of privacy exists in home computers. U.S. v. Lifshitz,
             27 369 F.3d 173 (2nd Cir. 2444); Trulock v. Freeh, 275 F.3d 391, 403 (4th Cir. 2001);
             28 Guest y. Leis, 255 F.3d 325, 333 (6th Cir. 2401).                        •_
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                 1               Mattel cites to ,S,^perior Consultant Co. v. Bailey, No. 00-CV-73439,
                 2 2000 WL 12791 b 1, at * 13 {E.D. Mich. Aug. 22, 2000) to support its contention that
                 3 Bryant has no privacy rights to his "personal" home computers. The facts in Bailey
                 4 are distinguishable from the case here, as in Bailey, the Plaintiff used his personal
                 S computer to accesshis ex-employer's database of confidenrial, proprietary and trade
                 6 secret information. Here, Bryant has net done so.
                 7               Mattel also seeks unredacted versions of both Bryant's telephone records
                 8 and the telephone records of his parents and friends. Bryant already produced pages
                 9 of telephone records reflecting all phone calls between MGA and himself, redacted
               10 to exclude his own personal (non-MGA related) phone calls and the phone calls of
               11 his family and roommates (Richard Inman and Elise Cloonan). He also produced
               12 redacted phone records from Veronica Marlow, the individual who introduced Bryant
               13 to MGA. He produced those records in goad faith, even though they are not his awn,
               14 because they were turned over by Marlow to his attorneys during this litigation
               15 (^acoby Dec1. ¶ 25)
               ib                Mattel is not entitled to unredacted versions of Bryant`s telephone
               17 records. Those records contain calls to and from family and friends, and calls by his
               18 roommates to others, which are obviously unrelated to this action. Under California
               19 law, "A subscriber has a reasonably expectation that records of his calls will be
               20 utilized only for the accounting functions of the telephone company in determining
               21 his bills. He has na reason to expect that his personal life, as disclosed by the calls
               22 he makes and receives, and the day and time of those calls, will be disclosed to
               23 outsiders." People v. McKunes, S 1 Cal. App. 3d 487 (1975). Bryant is entitled to a
               24 reasonable expectation of privacy in the persanai calls he received ar made from his
               25 home by any of his family members regarding issues unrelated to this case. Similarly,
               26 Bryant's parents and friends are entitled to a reasonable expectation ofprivacy in the
               27 personal calls they received or made from their home regarding issues unrelated to
               28 this case. Therefore, there is nothing to compel here.

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                 1                The Requests seeking cornmunieatians with MGA or referring to "Bratz"
                 2 are akso overbroad and burdensome, as stated, in that mast of them contain no
    .            3 limitation as to the type of communications or records sought. For example , Request
                 4i No. 27 asks for "ALL DOCUMENTS that REFER OR RELATE TO
                ^5 COMMUNICATIONS between YOU and MGA after October 20, 2000." As framed,
                 6' Bryant would have to produce every piece of communication since October 20, 2000
                 71 until today between MGA and himself. As noted above, however, Bryant has already
        .        8,
                    produced the records of his communications with MGA that pertain to his initial
                 9'^ contract with MGA and his work on the First Generation "Bratz."
            10
            11                                         ISSUE NO.6
                I2I      Should Bryant Be Compelled To Produce Mattel-Related Documents?
                13
                14                Set forth below are: {A) Mattel's Requests that are relevant to Issue
                15 No. 6 and Bryant's Responses to Mattel's Requests; (B} Mattel's position; and (C)
                16 ^ Bryant' s position.
                17
            18              A.    Mattel ' s Re.^uests And Bryant's Responses
                19
            20 REQUEST FOR PRODUCTION NO. 51:
            21'                   All DOCUMENTS that REFER OR RELATE TO Mattek, Inc., or that
            22 were prepared, authored or created by Mattel, Inc. or any officer, director, employee
            23 or representative of Mattel, Inc., that YOU have ever provided to, shown, described
            24 to, communicated to or disclosed in any manner to MGA.
            2S'
            26
            27'
            28
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                    1 answering discovery, however, only the most limited information must be disclosed.
                    2 ', Letter a#ter letter from Mattel's counsel cannot mask its duplicity.
                    3                Mattel is suing a Missouri individual , and litigating with the case with
                    4 the vigor of a massive antitrust suit, or, more appropriately in this case , "bet the
                    5 company" type of litigation. At each previous court hearing , Mattel has sent no less
                    6 ^ than ,five attorneys - two partners and three associates - to make and view the
                    7 appearance. {Jacoby Decl. ^ 45). There have also been four depositions, To attend
                   .8 Bryant's deposition, Mattel sentfaun attorneys - two partners, one associate and one
                    9 in-housecounsel - to Springfield, Missouri. Far a third party witness, Mattel had two
                   10 five attorneys - two partners {Mr. Quinn aad Mr. ^e11er), two in house lawyers, and
                   11 one associate. And, to ^         the deposition of one Mattel witness, Mattel sent two
                   12 Quinn Emanuel lawyers {one partner attd one associate) ^ one in-ho^€se counsel.
                   13               Mattel's tactics of intimidation should not be rewarded. Its motion
                   14 should be denied and, t4 the extent sanctions are awarded, they should be awarded .
                   15 against Mattel. Bryant's counsel has iincumed in excess o€$4500 in fees in opposing
                   16 this motion {Jacoby Decl . '^ 47), and peusuant to FRCP 37 (a}(4}(B), Bryant should
                   17 be awarded that amount in partial compensation far the cost of apposing this motion.
                   18
                   14 DATED: January 25, 2045                    UINN EMANUEL UR UHAZLT
                                                                 LIVER & HEDGES, LL
               20
               21^                                             By ^^ ` n.,^c.^^
                                                                    C C         er
               22                                                Attorneys for Plaintiff
                                                                 Mattel, Inc.
               23
               24 DATED: 3anuary 25, 2005
               25
               26
               2T
               28
   7209/625168.1
   1/4105 14:36                                                  8T
                                                                                           JOINT ST[p1JI.A I'lON
                                                                                                    w^^


^^^^^^^


^^^^                ^y`^
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                                   #:58151



                                                   PROOF OF SERVICE
                                                      IU33A{3) CCY Rcvisod 5/1B6

       2
            STATE OF CALIFORNIA )
            COUNTY OF LOS ANGELES )
       3            I am employed in the county of Los Angeles State of California. I am over the age of 18
            and nat a party to the within action; my business address is: Sb5 South 11 igueroa Street, 1 pth Floor,
       4    Los Angeles, CA 9x012.
       5         4n January 4, 2005 , I served the foregoing document described as JOINT
            STIPULATION RE: MATTEL'S MOTION TO COMPEL PRODUCTION OF
       7    DOCUMENTS on all interested parties in this action.

       8                                     SEE ATTACHED SERVICE LIST

       9
            [ ]       By placing [ ]the original [X ]true copies thereof enclosed in sealed envelopes addressed
      i0              as follows:

      11    [ ]       BY MAIL
            []        I deposited such envelope in the mail at Los Angeles, California. The envelope was mailed
      12
                      with postage thereon fully prepaid.
      13              As follows: I am "readily familiar" with the firm's practice of collection and processing
            []
                      correspondence for mailing. Under, that practice it would be deposited with U.S. postal
      14              service on that same day with postage thereon fully prepaid at Los Angeles, California in the
                      ordinary course of business. I am aware that on motton of the party served, service is
      15              presumed invalid if postal cancellation date.or postage meter date is more than one day after
                      date of deposit for mailing in affidavit.
      1.s
            []        BY OVERNIGHT COURIER I caused each envelope with postage prepaid to be sent
      17              by Federal Express.

      X81 [ X ] BY TELECOPIER By transmitting the above listed document(s) to the fax number(s)
                 set forth above on this date.
      191
            [ X]      BY PERSONAL SERVICE I delivered such envelope by hand to the addressee.
      201
            Executed on January 4, 2005, at Los Angeles, California.
      21
            [ ]       (State) I declare under penalty of perjury under the laws of the State of California that the
                      above is true and correct.
      22
            [X]       (Federal) I declare that I am employed in the office of a member of the bar of this court at
      23              whose direction the service wa
      24
                      c
                   ^' 1 ^iL
      25
              rint Name                                       Si     a re
      26

      27

      28




                  ^x^^^^^       ^
                  P^^^          5^`^
Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 108 of 120 Page ID
                                   #:58152




                                 EXHIBIT 51
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                                           #:58153




                        I    ROBERT F. MILLMAN, Bar Nv. CA 062152
                             DOUGLAS A. WICKHAM, Bar No. CA 1272b8
                        2    KEITH A. JACOBY, Bar No. 150233
                             LITTLER MENDELSON
                        3    A Professional Cvr^vration
                             2049 Century Park East, Sth Floor
                        4    Los Angeles, CA 90067.3107
                             Telephone:    310. 5 53.03 08
                        5    Facsimile:    310.553.5583
                       6     Attorneys for Defendant and Cross-Claimant
                             CARTER BRYANT
                       7
                       8                                UNITED STATES DISTRICT COURT
                       9                              CENTRAL DISTRICT OF CALIFORNIA
                    10
                    it       MATTEL, INC., a Delaware                  Case No. CV 04-9059 NM (RNBx)
                             Corporation,
                    Iz                                                 HON. NORA M. MANELLA
                                               Plaintiff,
                    13                                                 DISCOVERY MATTER
                                    v.
                    14                                                 [REDACTED] DECLARATION OF
                             CARTER BRYANT, an individual;                XTH A. JACOBY IN SUPPORT
                    15       and DOES l through 10 , inclusive,        OF DEFENDANT AND CROSS-
                                                                       CLAIMANT CARTER BRYANT'S
                    16                         Defendant.              PORTION OF JOINT
                                                                       STICPULATION
                    17
                                                                       [Local Rule 37-3]
                   18
                                                                       Hearing Date:       January 25, 2005
                   19
                             LPiK l ^K tSK T l-11V i , Oil nenatI OI
                   20        himself, all present and former
                             employees of Mattel, Iric., and the
                   21        general public,

                  22                           Cross-Claimant,
                  23         v.
                  24         MATTEL, INC., a Delaware
                             Corporation,
                  25                           C'rnec_T^r^fan.

                  ^^

                  27
                                                                                                     \l^
                  28
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                             PA^^
         Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 110 of 120 Page ID
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                         1                                   DECLARATION OF KEITH A. JACOBY
                        2              I, KEITH A. JACOBY, declare as follows:
                        3     1.       I am a shareholder of the .law f rrn of Littler Mendelson, a.. Professional
                        4     Corporation, counsel of record for Defendant Carter Bryant ("Bryant") in this matter.
                        S     I have personal knowledge of the matters set forth herein and, if called as a witness, I
                        6     could and would testify competently thereto.
                        7
                             2.        Mattel is an international toy manufacturer based in El Segundo, California that
                        S
                             markets numerous lines of toys, including its most well-known product, the "Barbie"
                       9
                             doll line. See 1Vlattel's Complaint at ^ 7.
                    10
                    11       3.        Defendant Carter Bryant was deposed in this matter on November 4, 5 and S,
                    12       2D04. True and correct copies of excerpts of his depositions transcript are attached as
                    1.3      Exhibit "1"hereto.' At his deposition, Bryant testified to the following:
                    14
                                                {a)       Bryant was formerly employed by Mattel as a designer of Barbie
                    XS
                             fashions. He worked from September 1995 to April 1998 in the "mainline Barbie"
                    I6
                             fashions department, and from January 4, 1999 to October 20, 2000 in the Barbie ^
                    17
                             "Collectibles " unit. Deposition of Carter Bryant ("Bryant Depo ."), Vol. I, page 36,
                    18
                             lines 10-1 i and 14-16 (hereafter, 36:10-11 and 14-16); 37:3-5; Vol 2, 274:13.
                    19
                                                (b)       During his 1998 hiatus from Mattel , Bryant moved to his family's
                   20
                             home in Missouri , worked part time at Old Navy, and created artwork . One of his
                   21
                             creations was drawings of hip teenage girls in funky modern clothes. He tailed the
                  22
                             girls in these totally original drawings "Bratz," but he made no efforts to
                  23
                             commercialize them at the time. Bryant Depo. Vol. I, 9:5-12, 142:10-1 S, 144:19-20.
                  24
                                               (c)        Needing money, and wanting to live on his own again, Bryant
                  25
                             moved back to California and returned to work at Mattel in .Tanuary 1999. Bryant
                  26
                             Depo . Vol. 1, 44:15, 48:9-11.
                  27
                  28         ' These deposition excerpts will be filed upon the Court's entry of a protective order in this case.
LITTLER MENOEL508                                                                       ^_
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^.^ A.p.l.., CA 9000 JIPI


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                             PAGE
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                        1   ever existed.   Attached hereto as Exhibit " 2" is a true and correct copy of email.
                       2    correspondence from Mr. Zeller to me, dated October 25, 2004.
             .         ^
                            16.    Mattel has utterly failed to show why a further production is required. Bryant
                      4
                            has produced over one hundred of drawings related to the First Generation designs.
                      5
                            Given Mattel's position on the scope of this lawsuit, the First Generation "Bratz"
                      6
                            designs are the only designs relevant to the issues raised in this lawsuit.    Mattel's
                      7
                            theory is that Mr. Bryant breached his employee agreements with Mattel by working
                      8
                            for Mattel and MGA at the same time for approximately one month. Thus, only the
                      9
                            work performed prior to joining Mattel or prepared in connection with his interviews
                   i0
                            with MGA (all of which has been produced to the extent they remain in Bryant's
                   11
                            possession, custody and control), and thereafter, to the extent it relates to the First
                   12
                            Generation "Bratz" dolls, has any bearing on this lawsuit. MGA, for its part, has
                   13
                            produced hundreds of documents relating to the creation of the First Generation
                   14
                            "Bratz" prototypes for the 2001 Hong Kong and New "York toy fairs. Despite the
                   15
                            narrow frame of relevance, Mattel's irnproper and overbroad requests seek virtually
                   16
                            every Bryant document regarding Bratz, with no attendant time or scope limitations.
                   17
                            The requests, taken together, seek all "Bratz" related documents, from the beginning
                   1$
                            of time through today.
                   19
                   20       17.    Mattel has sought Bryant's royalty statements from bath Bryant and MGA. The
                   21       royalty statements contain trade secret information of the most sensitive nature, and
                   22       much of that information is unrelated to this suit in the first instance.
                   23
                            18.    The unredacted Bryant royalty statements show SKU numbers far "Bratz" and
                   24
                            "Bratz" related products, the revenue generated from those products, and Bryant's
                   2S
                            royalty.   in other words, they show how much revenue MGA earned on various
                   2b
                            "Bratz" products.
                   27
                   28
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                            EXiiIBET

                            PAGE        ^2
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                         1    19.    Contrary to Mattel's representations, Bryant does not object to producing
                        2     "responsive, non-privileged documents generated after the suit was fled." Rather,
                        3     Bryant asserted an objection -identical to one Mattel asserted -that was designed to
                        4     reserve Bryant's right not to place on a privilege log the innumerable privileged
                        5     documents and documents containing attorney work product that have been created
                        b     since this lawsuit was filed. Bryant is unaware of any unprivileged document which
                        7     does not contain attorney work product that is responsive to the requests and that was
                        8     created since the lawsuit was fled. The only document that conceivably falls into
                       9      these categories of documents that Mattel has conducted discovery on to date is
                    10 '^ Bryant's retainer letter with Littler Mendelson.          At deposition, Mattel's counsel
                    11        quizzed Bryant about his retainer and whether MGA agreed to pay his legal fees in
                    12        this matter. Bryant asserted the attorney client privilege and did not respond.

                    13
                              20.    Mattel has not produced its retainer letter in discovery, nor has it logged it on
                    14
                              any privilege log.
                    15
                    16        21.    Bryant has not "refused" to produce communications between himself and
                    17        MGA. Ta the contrary, he has produced his agreement, his royalty statements, all
                    18_       manner of artwork that was done for MGA or assigned to MGA.

                              22.    Moreover, and contrary to Mattel's contentions, Bryant has conducted an
                   zo
                              extensive and diligent search for responsive and relevant information. Bryant made
                   21
                              the hard drive of the computer he used from 2000 to 2002 available to his counsel, and
                   22
                              counsel have not found any responsive documents or relevant information in his
                   23
                              computer hard drives, or documents related to his communications with MGA.
                   24
                   25         23.    Mattel's speculation that Bryant's counsel "apparently has made no effort to ^
                   2b         look for or recover deleted data from that hard drive and made no effort to examine
                   27         the other computers at all" is a complete falsehood, and contradicts express
                              representations made to Matters counsel in the meet and confer that such a search was
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                              ^^^^        ^^ 3
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                       1    undertaken and did not reveal any responsive documents. It ignores the fact that that
                      2     Bryant's counsel has examined his hard drive extensively for any responsive
                      3     documents, and it has.not found any. It also ignores the fact that scores of attorney
                      4     hours have been spent searching far documents at Bryant's home and in his studio.
                      5     While Bryant has tirelessly searched for and inspected his computer hard drives for
                      G     relevant information, there is irrefutable evidence that Mattel has not turned over all of
                      7     Bryant's electronic data; such as responsive ernails or their attachments.
                      8
                            24.      Further, the hard drive from Bryant's horns computer, which ^he gave to his
                     9
                            niece in 2002, contains personal information and data that is unquestionably protected
                   IO
                            by his constitutional right of privacy as well as that of his niece.
                   11
                   12       25.      Bryant has been even mare accomodating in his furnishing of personal

                   13 I telephone records, but to no avail. He has produced pages of telephone records
                   14       reflecting phone calls between MGA and himsel#; He also produced redacted phone

                   1S       records from Veronica Marlow, the individual that introduced Bryant to MGA. He

                   lb       produced those records in good faith, even though they are not his own, because they
                   17       were turned over by Marlow to his attorneys during this litigation.
                  18
                            26.      Those records contain calls to and from family and friends, and calls by his i
                  19
                            roommates to others, which are obviously unrelated to this action.
                  20
                  21        27.      In its Motion, Mattel also seeks an order compelling Bryant to produce all
                  22        "Mattel-related" documents. Bryant worked for Mattel for approximately f ve years,
                 23         and in that time, received innumerable documents from Mattel. Avast majority of the
                 24         Mattel documents responsive to these requests have no bearing on any issue in this
                 25 '^ case. Documents that Bryant would have received from Mattel during his five years
                 2b         of employment there would likely include insurance , benefzts, employee handbooks,

                 27         administrative memoranda , reports, paychecks, etc.
                 2$
LITTLER YEN6ELSON
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l., ^.^.I.,. CF faa1111i
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                            ^^.^ ^        ^`1
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                      '1.    28.        Mattel has imposed precisely the same type of limitation on its production, not
                      2      even turning over portions of its employee handbook that it unilaterally deemed
                      3      irrelevant to the case. Additionally, Mattel has admitted that most of the hundreds of
                      4 ^ Mattel documents Bryant has already produced in response to these requests are of
                      5 I little value.
                      b
                             29.        In addition, Mattel's counsel Michael Zeller and Tania Krebs have admitted in
                      7
                             various meet and confers that there could be many documents responsive to its request
                      S
                             that Mattel does not want. For example, Bryant offered to return to Mattel all original
                      9
                             drawings belonging to Mattel in his possession, custody or control. Mattel's counsel
                    la
                             refused this offer.        Moreover, Mattel has again and again declined to narrow its
                    11
                             requests in any way.         As they are currently written, Mattel's requests are virtually
                    12
                             unintelligible.
                    l3
                    14' 30.             Mattel cannot justify its position that it is entitled to production of a full array of

                    15 I Bryant's copyright, patent and other registrations, even those that pre-date his first
                    1G       term of employment with Mattel. It is questionable at best whether any patent or

                    17       copyright applications fled on Bryant's behalf would even shed light on whether

                    18       Bryant was represented by counsel at the time. As Mattel is undoubtedly aware, such

                    19       applications would likely have been filed by his employer at the time or by MGA, and

                    20       would not necessarily indicate that he was represented by counsel. Further, even

                    2l       assuming he retained counsel for the purpose of fling such applications on his behalf,

                    22       that would have no tendency to disprove the fact that Bryant was not given the
                    23       opportunity to consult counsel when required to execute Mattel's Employee

                    24       Conf dential Information and Inventions Agreement ("Agreement").

                    2S
                             31 _       Finally, at deposition, Mattel has already inquired of Bryant whether he was
                    26
                             represented by counsel at the time it required him to execute the Agreement. Bryant
                    27
                             responded in the negative.
                    2$
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        Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 115 of 120 Page ID
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                            1   45.       Mattel is suing a Missouri individual, and litigating the case with the vigor of a
                        2       massive antitrL^st suit . At each previous court hearing, Mattel has sent no less thanfive
                        3       attorneys ^- hvo partners and three associates - to make and view the appearance.
                        4
                                4b.       There have also been four depositions..To attend Bryant's deposition, Mattel
                        5
                                sent four attorneys -- two partners, one associate and one in-house counsel - to
                       b
                                Springfield, Missouri.                For a third party witness, Mattel had five attorneys -two
                        7
                                partners (Mr. Quinn and Mr. Zeller}, two in-house lawyers, and one associate? And,
                        8
                                to defend the deposition of one Mattel witness, Mattel sent two Quinn Emanuel
                       9
                                lawyers (one partner and one associate) and one in-house counsel.
                     10
                     11         47.       As Bryant's counsel, I have spent in excess of f fteen hours preparing Bryant's

                    12          portion of this joint stipulation. My hourly rate is $425 per hour. Pursuant to FRCP
                     13         37 {a}{4){B), Bryant should be awarded that amount in partial compensation far the

                     14         cost of opposing this motion.
                    15
                                                    ^ declare under penalty of perjury under the laws of State of California
                    16
                                and the United States of America that
                    I7
                                                    Executed this 4`h day of J
                    l8.
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                   22
                   23           Los_Mgelcs :3$93b7. 3 428347.1410 .


                   24
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                   26
                   27
                   28           ^ The associate attended only part of that deposition.
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                                 EXHIBIT S2
       Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 117 of 120 Page ID
        '  .                              #:58161
Q. •                ;

.                            U      .,.



                                 DOCJGLAS A. WICKHAM ( S.B. #I27268)
                                 dwickham@ Iittler.com
                         2       K.EITII A. JACQBY {S.B. #150233)
                                 k'acobyy @
                                          ^ Iittler.com
                         3       L^TTLER MENDELSOIV
                .                A Professional Co ration
                         4       2049 Century Park^ast, Sth Flaar
                                 Los Angeles, CA 90067.3107             .
                        ^5       Telephone: ^ (31,0) 553-030$
                                 Facs^mEi.Ie: (310} SS3-5583
                         6       Attoz:aeys . fv^r Carter Bry. ant
                         7
           .
                        $                                UNITED STATES DISTRICT CUURT
                                                        CENTRAL DISTRICT OF CALIFORNIA
                        9                                      EASTERN DIV7SI4N
       .            I0^
                                 CARTER BRYANT, an individual;       Case No. CV 04-09049 SGL ^RNBx)
               ' II                                                  (consolidated with ^C'V 04-905 & OS-2727}
                                                   Plaintiff,        DISCOVERY IVIATTER
                    l2
                                          v.
           .^                                                         Ta Be Heard By Discovery Master Ilan.
                    x3
                                 MATTI-^, ^iIVC., a Delawaxe         ^dward Infante Ret.). Pursuant To The
                    14                                               Count's Qrder O^ December 6, 2ppG^
                                 Corporation,
                    l.5                                              SEPARATE STATEMENT OF
                                               •   Defendant         DEFENDANT CARTER BRYANT IN
                    X6                                               (3PPOSITION TQ MATTEL'S MOTYON
                                                                     TO COMPEL
                    I7
                                                                     Hearing Date: 3anuary 23, 2007
                    I8                                               Tirne: 8:15 a.m.
                                                                     Place: Telephonic ^            .
                    L9
                                                                     Discovery Cut-off: ^ None set                   .
                20                                                   Pretrial Conference: None Set
                                                                     Trial Date: None Set
           . 21
                22           CONSQLIDATED WITH
                             MATTEL,^INC. v. BRYANT and
                23.          MGA ENTERTAINMENT, IN'C. v.
                             MATTEL, Il^C.
                24^
               25
               26 ^.
               27
            ^28
                                                                            BItYAA''^"5 SE^A^tA'rE STATEMEI^3^' XN
                                 ^XHIBlT _         S^                       OPPOSI'rIQ^ '1'O MATTET^'S MOTION TO
                                                                            CON1I?EI.          ^       '.

                                 PAGE              5^
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             .I                                           Brvant's Arsument
              2                      Bryant agreed iu the Stipulation to conduct a "reasonably diligent search
              3    for and produce any patent, copyright and trademark applications, registrations .or
          4        other non-privileged documents in his possession, custody or control that constitute or
         .^
                   relate to such applications and registrations obtained or applied in connection with"
              d    (1) work on Brats prior to January 1, 2001; (2) work related to the release of the First
                   Generation "Bratz" Balls that took place on or about .Tune 2001; and (3) work related
              8    to any work Bryant performed with,•for ar on behalf of MGA during the term of
              9    Bryant' s employment with Mattel . Accordingly, Mattel' s motion to compel Bryant to
          IO       produce documents relating to registration and applications for registration is moot.
         ^11
         12 ^ VII. BRYANT'S PRIOR PRODUCTION WAS PROPER.
         i3                          Mattel incorrectly claims that Bryant asserted a "blanket abjection to
.^       ^1.4     producing any document created after this lawsuit was f led in April 2004." Mattel
         15       completely misrepresents the issue and Bryant's position. Bryant dzd not and does not
         16       abject to producing "responsive, non-privileged documents generated after the suit                ^
         17       was filed." Bryant only objects to having to Tag as privileged any post litigation
         18' communications with counsel. Mattel has misconstrued this caveat as a wider refusal
         19  to produce documents created after the Iawsuit was filed. No such position has been
        20        taken.
        ^2I                 A.      None Qf The Information Redacted Frarn The Produced Phvne
        22^       Retards Relate Ta MGA.
        23                          Bryant^agreed in the Stipulation that he will provide a signed verification
        2^-       attesting that none of the information redacted from phone records that were produced
        2^        to Mat€ei relate or refer in any way to MGA, "Brat2" or any other project that Bryant
        2b        worked on with, far or on behalf of MGA prior to June 1, 2001.
        27                 B.       Br ant Should Nob Dave T'o Identif On A.Pri^e               Lo Ever ^       _
        2$
                   ^^ #^# # ^ #^'     ^^ ^ ^                     ^     ^^c^razvr's s^raaaTr srA'1"^^N'r w
                                        .                      38.      OPPOS^rXON TO 11xA.Tr^,'S MO'T^OIV,TO
                                                                       : COMPEL ^         . ^ ^ ^.
                    ft €' .
                   PA ^ c           CJv^ ^
Case 2:04-cv-09049-DOC-RNB Document 3337-5 Filed 04/28/08 Page 119 of 120 Page ID
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                I     Commuxucataon He Has Had With His Counsel.
               2                     .Mattel xnischaracterizes Bryant's good-faith assertion of privilege by
               .3     professing that Bryant has listed only 4 documents on his privilege [og "likely because
               4      most documents he has withheld on privilege grounds are not actually privileged-arid
               5     because the dates of these documents alone may refine Bryant's claims about the
               6 timing and scope of has communications with MGA,°' Mattel's contentiori holds rio
               7     water, Since lViattel filed this action in April 20Q4, Bryant has had numerous
               S     communications with leis counsel regarding issues arising out of phis lawsuit. Bryant
    .          ^9    objected yn order to reserve his right not to place on a privilege log the innumerable
          .x0        privileged documents and documents contouring attorney work product that have been
          ^.1        created since the inception of this lawsuit, Bryant respectfully requests this Court not
         12          to order Bryant to serve a privilege lag concerning his confidential communications
          13         with'his counsel which are undeniably protected by the• attorney-client privilege.
          14                    C»   Bry'ant's Hard bri.ve
         15                          Bryant confirmed in the Stipulation that he made a diligent and
         ^.6         reasonable effort to locate all three computers referenced at his deposition, and that
         l7.        after that search, he is only able to locate one of the old computers that he used and/or
         18         owned. Bryant has also expressly agreed to conduct a reasonable and diligent search
   • i9             for responsave.dacuments, including a forensic search for data fragmenks, deleted.
        20 ^ docuime:nts and data not xeadily viewable absent forensic analysis, and will produce
        22 ^ .responsive documents in accordance with tlie^stipulation. Accordingly,ll^attel's ^                    .
  ': ^ . 22 : znotio^a to compel Bryant's hard drive is no =longer an issue. ^^
                                         ^                         .
        .23 -^              ^
        ^24 ^ ^ VIII. MATTEL SHOULD BE SAI^TCTIONED
    -25                 ^            The only party thatshould be sanctioned is Mattel. For the past two and
        26 . half years, Maffei has taken contradictory positions regarding the amount of money in
        27 :controversy in order to manipulate the forum and^he scope of discoveryT and has now_ '
    28.             unilaterally reneged on an exhaustively^negotiated stipulation 13ec--apse it does not vivant.
         .•                                                          ..aaYAlvr^s s^pAaA^ra srAr^n^^rr ^r
                     ^k^^ l^^T       :^, ^                    39.      o^osrrYO^r pro Ma^^,^s ^ox^^orr ^o
         . ^                         ^^^               ^                COMPEI.      -           ..

                     ^^^
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          1     to formally modify a single request . Mattel's counsel likely lrnew its requests were;
         2      facially improper when they engaged. in a six month long negotiation to substantially
         3      limit the requests , only tia unceremoniously renege an the stipulation at the last second
         4      and move on every request. Bryant has incurred more than $20 ,000 in fees
                negotiating the stipulation that represezited a considerable compromise on his part of
      •6        the issues raised in these requests.                                           -
         7                          Mattel' s. sweepingly overbroad and duplicative requests cannot stand on
         8     their own and its tactics of intimidation should not be awarded Its motion should be
         9     denied amd, to the extent sanctions are awarded , they should be awarded agaans# - .
     10        Mattel . Bryant's counsel has incurred in excess of $8,700 in fees • iri^opposing this
     ll        motion, and pursuant to FRCP 37(a}(4}(B}, Bryant should be awarded that amount m
     12        partial compensation for the cost of opposing this I3aotion. The stipulation of the
     13        parties should be enforced as the recommendation of the Discovery Master, and as
     14        such should end any further law and motion on the document requests moved upon in
     IS the ranuary 20x5 and the current motion.                                                     ^                  -
    ^16,^

     l7       ^anuary'l.l, 2007                      ^                                    .
                                                                  DODCLAS A. W'ICKHAM
     18                                                          xErrx A. 3A COB^
                                                                 LITTLER MENDELSON
     19                                                      _   A Professional Corporation
     zv
                                                                    -
    21                                                   .        Keith A. ^acaby
    22                                                            ,Attorneys for'De endant -
                                                 -               ^ CARTER BRXANT
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               4^^'^BE^^T -- -          ✓ ^      ^                          13RT^M1T'SSEPA,RATESTA'^'E14IENT^YhT   `•
                          -                                         4O.     OPPOSITION TA MATTEL'S ^MOTYON TO
                                                                            co^vrrxrr.
               PAGE               ^^
